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3/21/25, 11:59 AM                                                           About AHRQ | Agency for Healthcare Research and Quality
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                                                                                     (https://www.ahrq.gov/)




     About AHRQ
     The Agency for Healthcare Research and Quality (AHRQ) is the federal agency charged with improving the quality and safety of
     healthcare delivery.

     The agency develops and disseminates scientific evidence, tools, and data to help patients and their families, healthcare professionals,
     and policymakers make informed decisions. AHRQ is a home for health services research (https://www.ahrq.gov/cpi/about/health-
     services-research.html) and is the nation’s lead federal agency for patient safety research (https://www.ahrq.gov/patient-
     safety/index.html) . AHRQ is not a regulatory agency.

     AHRQ is one of 12 operating divisions (https://www.hhs.gov/about/agencies/hhs-agencies-and-oÓices/index.html) of the U.S.
     Department of Health and Human Services (HHS) (https://www.hhs.gov/) . It was created under the Healthcare Research and Quality
     Act of 1999 (https://www.ahrq.gov/policymakers/hrqa99a.html) . (Access more about AHRQ's history
     (https://www.ahrq.gov/cpi/about/brief-history.html) .)



     Mission and Core Competencies
     AHRQ's mission (https://www.ahrq.gov/cpi/about/mission/index.html) is to enhance the quality, appropriateness, and eÓectiveness of
     health services, and access to such services through the establishment of a broad base of scientific research and through the
     promotion of improvements in clinical and health system practices, including the prevention of diseases and other health conditions.

     The agency pursues its mission by employing three core competencies:




                               (https://www.ahrq.gov/healthsystemsresearch/index.html)


                                Health Systems Research
                                (https://www.ahrq.gov/healthsystemsresearch/index.html)
                                AHRQ invests in research that generates evidence and actionable knowledge by funding health services research
                                to understand how care is delivered and how it can be improved.



                               (https://www.ahrq.gov/practiceimprovement/index.html)


                                Practice Improvement
                                (https://www.ahrq.gov/practiceimprovement/index.html)
                                AHRQ moves evidence into practice by developing tools, training, resources, and nonregulatory assistance,
                                leading to strategies to help health systems and clinicians deliver safe, high-quality healthcare.



                               (https://www.ahrq.gov/data/index.html)


                                Data & Analytics (https://www.ahrq.gov/data/index.html)
                                AHRQ data and analyses help healthcare decision makers understand system performance and where
                                opportunities for improvement exist. These resources allow for eÓective quality measurement and reporting for
                                state and federal policymaking.




https://www.ahrq.gov/cpi/about/index.html                                                                                                             1/3
3/21/25, 11:59 AM                                                     About AHRQ | Agency for Healthcare Research and Quality
                        Case 1:25-cv-10595-LTS                 Document 26-1                          Filed 04/01/25            Page 7 of 130
     AHRQ's Unique Role
     AHRQ's unique role in the U.S. health enterprise is threefold:

       1. Making 21st century care a reality for all. AHRQ produces evidence and supporting tools that help spread the reach of
           biomedical research findings to improve healthcare for everyone and assesses the clinical utility of medical interventions to inform
           national coverage decisions.
       2. Focusing on healthcare improvement. AHRQ focuses on improving the care delivered to patients.
       3. Disseminating and implementing actionable knowledge. AHRQ draws upon the latest clinical, social, and behavioral science to
           encourage the adoption and delivery of innovative therapies.



     How AHRQ Organizes Its Work
     The agency's work is conducted by several oÓices and centers:

           The OÓice of the Director (https://www.ahrq.gov/cpi/centers/od/index.html) oversees the agency's activities.
           The Center for Evidence and Practice Improvement (https://www.ahrq.gov/cpi/centers/cepi/index.html) generates new knowledge,
           synthesizes evidence, translates science on what works in health and healthcare delivery, and catalyzes practice improvement.
           The Center for Financing, Access and Cost Trends (https://www.ahrq.gov/cpi/centers/cfact/index.html) conducts, supports, and
           manages studies of the cost and financing of healthcare, access to healthcare services, and related trends and develops data sets.
           The Center for Quality Improvement and Patient Safety (https://www.ahrq.gov/cpi/centers/cquips/index.html) develops research
           and implementation tools to improve the quality and safety of the healthcare system.
           The OÓice of Communications (https://www.ahrq.gov/cpi/centers/ockt/index.html) develops, implements, and manages programs
           for communicating and disseminating the results of agency activities.
           The OÓice of Extramural Research, Education and Priority Populations (https://www.ahrq.gov/cpi/centers/oerep/index.html)
           directs scientific review for grants and contracts, manages research training programs, evaluates the scientific contribution of
           research and demonstrations, and supports and conducts health services research on priority populations.
           The OÓice of Management Services (https://www.ahrq.gov/cpi/centers/oms/index.html) directs and coordinates the agency's
           administrative services and operational activities.



     Real-World Impact
     AHRQ's evidence-based tools and resources are used by organizations nationwide to improve the quality, safety, eÓectiveness, and
     eÓiciency of healthcare. Access AHRQ's impact case studies (https://www.ahrq.gov/news/newsroom/case-studies/index.html) to learn
     more about how AHRQ's products have advanced American healthcare. Access AHRQ's grantee profiles
     (https://www.ahrq.gov/funding/grantee-profiles/index.html) to learn more about the research, training, and career development grant
     awards that have helped emerging health services researchers understand, improve, and share knowledge about how healthcare is
     delivered in the United States.

     In its role as the lead federal agency for patient safety research, AHRQ has, on behalf of HHS, established the National Action Alliance
     for Patient and Workforce Safety (https://www.ahrq.gov/action-alliance/index.html) . The National Action Alliance is a partnership
     between HHS and its federal agencies and private stakeholders interested in recommitting our nation to move toward zero harm in
     healthcare.



     Current Priorities
     As the federal agency charged with improving the safety and quality of America’s healthcare system, AHRQ remains steadfastly
     oriented toward a quality agenda. AHRQ defines quality healthcare (https://www.ahrq.gov/talkingquality/measures/six-domains.html)
     as care that is safe, timely, eÓective, eÓicient, equitable, and patient centered.

     Because healthcare changes rapidly, AHRQ's agile research agenda responds to new opportunities for improving care. AHRQ’s current
     priorities are listed on the Notice of Funding Opportunities (https://www.ahrq.gov/funding/fund-opps/index.html) page.



     Engage With AHRQ
     Want to learn more about the agency?
https://www.ahrq.gov/cpi/about/index.html                                                                                                         2/3
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           Subscribe to the weekly AHRQ News Now (https://www.ahrq.gov/news/newsletters/e-newsletter/index.html) electronic newsletter.
           Follow us on social media, including X (https://x.com/ahrqnews) , Instagram (https://www.instagram.com/ahrqnews/) , Facebook
           (https://www.facebook.com/ahrq.gov/) , and LinkedIn (https://www.linkedin.com/company/agency-for-healthcare-research-and-
           quality/) .
           Access AHRQ Views blog posts (https://www.ahrq.gov/news/blog/ahrqviews/index.html) .

     Researchers interested in funding opportunities should visit AHRQ's Notice of Funding Opportunities
     (https://www.ahrq.gov/funding/fund-opps/index.html) page to learn about requests for applications and program announcements,
     both of which are published in the National Institutes of Health Guide for Grants and Contracts
     (https://grants.nih.gov/funding/index.htm) . Access AHRQ's Research Priorities and Compliance Guidance
     (https://www.ahrq.gov/funding/policies/nofoguidance/index.html) for information on grant procedures.



       Page last reviewed March 2025
     Page originally created July 2014




https://www.ahrq.gov/cpi/about/index.html                                                                                                   3/3
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Diagnostic Errors
June 15, 2024
Diagnostic Errors. PSNet [internet]. 2019.
https://psnet.ahrq.gov/primer/diagnostic-errors



PSNet primers are regularly reviewed and updated by the UC Davis PSNet Editorial Team to ensure that
they reflect current research and practice in the patient safety field. Last reviewed in 2024.


Background

The past decade's quest to improve patient safety has chiefly addressed quantifiable problems such as
medication errors, health care–associated infections, and postsurgical complications. Diagnostic error has
received comparatively less attention, despite the fact that landmark patient safety studies have
consistently found that diagnostic error is common. In the Harvard Medical Practice Study, diagnostic error
accounted for 17% of preventable errors in hospitalized patients, and a systematic review of autopsy
studies covering four decades found that approximately 9% of patients experienced a major diagnostic
error that went undetected while the patient was alive. Taken together, these studies imply that thousands
of hospitalized patients die every year due to diagnostic errors.

An extensive body of research has examined the causes of diagnostic error at the individual clinician level.
This work has been informed by the field of cognitive psychology, which studies how individuals process
information and subsequently develop plans. As applied to health care, we have learned that clinicians
frequently use heuristics (shortcuts or "rules of thumb") to come up with a provisional diagnosis, especially
when faced with a patient with common symptoms. While heuristics are ubiquitous and useful, researchers
have used categories developed in cognitive psychology to classify several types of errors that clinicians
commonly make due to incorrect applications of heuristics:

 Cognitive Bias                Definition                                    Example
                    Diagnosis of current patient     A patient with crushing chest pain was incorrectly
Availability
                    biased by experience with past treated for a myocardial infarction, despite indications
heuristic
                    cases                            that an aortic dissection was present.
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  Cognitive Bias                Definition                                   Example
Anchoring            Relying on initial diagnostic   Repeated positive blood cultures with Corynebacterium
heuristic            impression, despite             were dismissed as contaminants; the patient was
(premature           subsequent information to the eventually diagnosed with Corynebacterium
closure)             contrary                        endocarditis.
                     Diagnostic decision-making      A with opioid misuse disorder with abdominal pain was
Framing effects      unduly biased by subtle cues    treated for opiate withdrawal, but proved to have a
                     and collateral information      bowel perforation.
                     Placing undue reliance on test A false-negative rapid test for Streptococcus
Blind obedience
                     results or "expert" opinion     pharyngitis resulted in a delay in diagnosis.

While cognitive biases on the part of individual clinicians play a role in many diagnostic errors, underlying
health care system problems also contribute to missed and delayed diagnoses. Missed or delayed
diagnoses (particularly cancer diagnoses) are a prominent reason for malpractice claims, and much of the
research into systems causes of diagnostic error arises from studies of closed malpractice claims in
primary care, pediatrics, emergency medicine, and surgery. Poor teamwork and communication between
clinicians have been identified as predisposing factors for diagnostic error in emergency medicine and
surgery. Lack of reliable systems for common outpatient clinical situations, such as triaging acutely ill
patients by telephone and following up on test results, also increases the likelihood of diagnostic error.

Preventing Diagnostic Errors


Given that many diagnostic errors are caused by subtle biases in clinicians' thought processes, some
diagnostic errors may be prevented by systems to mitigate the effect of these biases and provide
physicians with objective information to assist with decision-making. Clinicians are frequently unaware of
diagnostic errors that they have committed, particularly if they do not have an opportunity to see how their
diagnoses turned out over time. Therefore, regular feedback to clinicians on their diagnostic performance is
essential.

Unfortunately, reliable decision support or feedback systems do not yet exist. One of the earliest uses of
information technology in medicine was decision support for clinical diagnosis, particularly for notoriously
high-risk and difficult diagnoses such as acute myocardial infarction. However, computerized diagnostic
decision support has not yet been proven to improve overall diagnostic accuracy, although active research
continues in this area.

The autopsy has been the "gold standard" for diagnosis since medicine became a profession, but autopsy
rates have progressively declined over the past few decades, to the point where a recent editorial raised
concern over the "vanishing nonforensic autopsy." It is recommended that teaching institutions perform
autopsies on 25% of inpatient deaths, but few academic hospitals reach this benchmark. The result: not
only are clinicians not receiving feedback on their diagnoses, but pathologists are performing fewer and
fewer autopsies during their training.
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More progress has been made in addressing systems causes of diagnostic error. Information technology
has improved clinicians' ability to follow up on diagnostic tests in a timely fashion, which should reduce the
incidence of delayed diagnoses. Structured protocols for telephone triage, teamwork and communication
training, and increased supervision of trainees may also lead to improved diagnostic performance.
However, studies evaluating the effect of these interventions on diagnostic error rates are lacking.

Finally, there are aggressive efforts to teach clinicians and trainees about the relevant parts of cognitive
psychology. The principal goal is to engage clinicians in "meta-cognition" (reflecting on their own thinking),
with the hope that they will catch some of their own misuse of heuristics before they cause harm. A 2016
systematic review found evidence that these strategies can improve clinicians' diagnostic reasoning in
simulated settings. Recent systematic reviews have assessed the evidence base of interventions to
prevent cognitive errors and systems problems that can lead to diagnostic error.


Current Context

The National Academy of Medicine (formerly the Institute of Medicine) released a report in 2015 describing
diagnostic error as a blind spot in the safety field. The committee made several recommendations to
improve diagnosis, including promoting teamwork among interdisciplinary health care teams, enhancing
patient engagement in the diagnostic process, implementing large-scale error reporting systems with
feedback and corrective action, and improving health information technology. The report also
recommended health care system reforms, including establishing a work system and safety culture that
foster timely and accurate diagnosis, improving the medical liability system to foster learning from missed
or delayed diagnoses, reforming the payment system to support better diagnosis, and increasing funding
for research in diagnostic safety. Another challenge for addressing diagnostic error is the lack of measures
of diagnostic accuracy. In fact, current quality measurements do not take diagnostic accuracy into account
at all, meaning that organizations could score well on quality measures even if patients receive the correct
treatment for an incorrect diagnosis.
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Diagnostic Safety Research
at the Agency for Healthcare
Research and Quality

Diagnostic Error
Diagnostic error is a signiﬁcant and underrecognized threat to patient safety.
Diagnostic errors are common, consequential, and costly and contribute to avoidable suffering and
preventable deaths.
  Q Each year, 795,000 Americans die or are permanently disabled due to misdiagnosis.1

  Q Diagnostic errors disproportionately affect vulnerable populations based on race, ethnicity, gender, age,
     language, income, education, and location and add to inequities in health outcomes.2-10
  Q Delayed or missed diagnosis of cancer is a common error and allows cancers to progress to a less
     treatable stage, worsen prognosis, and decrease survival.11-14

Diagnostic errors create a signiﬁcant economic burden on the U.S. healthcare
system.
  Q The United States leads the world in medical science and technology yet ranks lowest in health
     outcomes among other high-income countries.15 Diagnostic inefficiencies such as overtesting
     contribute to excessive healthcare costs, but the additional tests do not improve quality.16
  Q Based on paid malpractice claims, diagnostic errors are more than twice as likely to end in death and
     receive the greatest payouts, with a cost of $38.8 billion over 25 years.17

Diagnostic Safety Research Efforts
A+54 has supported research to improve diagnostic safety since it ¿rst started supporting patient safety
grants in 2000. This brief shares highlights of the extensive portfolio of AHRQ’s diagnostic safety work.
  Q AHRQ has funded 10 Diagnostic Safety Centers of Excellence focusing on better characterizing
     sources of diagnostic error and developing and testing solutions to reduce harm. Selected work
     underway includes:
     Q Engaging patients to codesign approaches to improve communication.

     Q Designing better systems to follow up on abnormal test results.

     Q Improving design of electronic medical records and using new technology to support diagnosis,
        such as using electronic triggers to identify and learn from errors.
     Q Learning from patients to characterize missed opportunities for earlier cancer diagnosis.




                                                                      e   PATIENT
                                                       1                  SAFETY
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 Q AHRQ has funded Patient Safety Learning Labs that use cross-disciplinary teams taking human factors
   approaches to engineer safety into practice. Selected projects related to diagnostic safety include those
   that:
    Q Design highly reliable processes to improve the use of imaging tests and ensure closed-loop
       communication about diagnostic test results and referrals.
    Q Develop a framework to improve communication across transitions of care known to create risk for
       delayed or missed diagnoses.
    Q Identify contributing factors to diagnostic failure for cardiovascular disease in women.

 Q Other recent grants have:

    Q )ocused on speci¿c areas known to experience the greatest harm from diagnostic errors, including
       stroke, pneumonia, pulmonary emboli, cancer, cardiovascular disease in women, and maternal
       health.
    Q Funded an annual Diagnosis Error in Medicine conference hosted by the Society to Improve
       Diagnosis in Medicine, an event that brings together academic leaders, community partners, and
       patients to advance progress in diagnostic safety.
 Q AHRQ continues to support new diagnostic safety research with the following funding opportunities:

    Q Understanding and Improving Diagnostic Safety in Ambulatory Care: Incidence and Contributing
       Factors (R01, PA-23-291)
    Q Improving Diagnostic Safety in Ambulatory Care: Strategies and Interventions (R18, PA-23-290)

Tools and Resources
 Q AHRQ has developed resources to support patient engagement (Toolkit for Engaging Patients To
   Improve Diagnostic Safety), guide organizations to identify, analyze, and learn from diagnostic
   safety events (Measure Dx), help clinicians reÀect and learn from cases (Calibrate Dx), and train
   multidisciplinary diagnostic teams (TeamSTEPPS Diagnosis Improvement Course)
 Q AHRQ has also developed and disseminated a series of issue briefs on diagnostic safety, including
   Current State of Diagnostic Safety: Implications for Research, Practice, and Policy and others focused
   on measurement of safety and education and training to improve clinical reasoning.

Practice Improvement
 Q AHRQ is providing technical assistance to implement its diagnostic safety tools in up to 150 healthcare
   organizations nationwide.

Measurement
 Q AHRQ has funded foundational work on understanding mechanisms and sources of diagnostic errors
   and development of a taxonomy for classifying errors.
 Q AHRQ has also funded work to estimate the burden of diagnostic errors across a variety of
   healthcare settings, specialties, medical conditions, patient populations, and phases of work (such as
   communicating test results and tracking abnormal results).
 Q AHRQ has developed and shared a public resource for standardized reporting of diagnostic errors
   (Common Formats for Diagnostic Safety).




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Partnerships and Leadership
  Q AHRQ oversees a coordinating center for AHRQ-funded Diagnostic Safety Centers of Excellence to
     promote and encourage collaboration and capture and share lessons across sites.
  Q AHRQ is leading a National Academy workshop on Advancing Equity in Diagnostic Excellence To
     Reduce Health Disparities.
  Q AHRQ coordinates a Federal Interagency Workgroup to coordinate efforts across the Department of
     Health and Human Services on research related to diagnostic safety.

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AHRQ WebM&M—Online Medical
Error Reporting and Analysis
Robert M. Wachter, Kaveh G. Shojania, Tracy Minichiello,
Scott A. Flanders, Erin E. Hartman


Abstract
The AHRQ WebM&M Web site represents an unprecedented effort to publish
illustrative cases of confidentially-reported medical errors on the Internet,
accompanied by straightforward evidence-based expert commentaries. Modeled
on hospital morbidity and mortality conferences, five cases are posted each month
to illustrate diverse patient safety issues. The Web site has become a popular
source for medical error case information and has garnered positive feedback. As
of March 11, 2005, 296 cases had been submitted, and 90 had been posted on the
site. Twenty-four percent of the cases appearing on AHRQ WebM&M resulted in
death or permanent disability. The site had 9,767 registered users and 663 unique
visitors daily; the average visitor stayed for 121 minutes. Responses to a May
2004 user survey indicated that visitors were divided almost equally between
providers (half nurses and half physicians) and nonproviders with an interest in
safety. Seventy-five percent of users rated the educational value of the site as
“excellent”; virtually all the others rated it as “good.” Similar response rates were
tallied for questions regarding practical value, patient safety content, cases,
commentaries, and continuing education. These results demonstrate a willingness
on the part of providers to report medical errors under favorable circumstances, as
well as a strong demand among health care professionals for Internet-based
information pertaining to patient safety. Thus, AHRQ WebM&M represents one
of the modern era’s most successful experiments in patient safety reporting and
education.


Introduction
    Hospitals, particularly teaching hospitals, have a long tradition of discussing
complications of care and medical errors in a forum known as the morbidity and
mortality (M&M) conference. The content of such conferences traditionally has
been protected from legal disclosure to foster an environment in which providers
can review their mistakes honestly and highlight general lessons learned from
them.1, 2 Although concerns over the adequacy of medicolegal protection linger,3
the M&M conference, at its best, presents a unique opportunity for health care
providers to learn from their errors.
   As the focus on medical errors and patient safety expanded in the wake of the
2000 Institute of Medicine report, To Err Is Human,4 the limitations of M&M
conferences became more visible. First, relatively few nonteaching hospitals host
them on a regular basis. Second, even in major teaching hospitals, such


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        conferences often are conducted by the larger clinical departments (e.g., medicine
        and surgery), while the participation of physicians in other specialties (e.g.,
        radiology, psychiatry, pediatrics) has not been as great. Third, although many
        errors are caused by systemic failures or breakdowns in teamwork, nurses and
        other nonphysician providers and hospital administrators rarely participate in
        M&M conferences. Finally, when M&M conferences do take place, they often
        miss the mark—either failing to identify errors as such (more often a problem in
        internal medicine) or by focusing so narrowly on individual culpability that
        potential systems issues are not considered (more often in surgery).5–7
            The growing interest in medical errors also has led to increasing public and
        professional demands for error reporting. With this push has come a challenge:
        How can error reporting be leveraged to provide general lessons for providers and
        institutions? Publications such as the Joint Commission on Accreditation of
        Healthcare Organizations’ Sentinel Event Alerts8 highlight lessons from
        commonly reported errors and serve a vital function at health care institutions.
        Publications from regulators, however, tend to target an audience of safety and
        quality professionals, rather than a general audience of clinicians. And while
        some medical journals do occasionally feature patient safety articles (including
        the case-based “Quality Grand Rounds” series that we [RMW, KGS] edit for the
        Annals of Internal Medicine9), those discussions are particularly comprehensive
        and the cases are generated by the editors, rather than readers. Moreover, the
        Annals is read mostly by internists, and is available only to paid subscribers.
            In the late 1990s, the Agency for Healthcare Research and Quality (AHRQ),
        under the leadership of the late Dr. John Eisenberg, recognized in all of the above
        an opportunity to create a resource that would marry the best of the local M&M
        conference with a confidential national reporting system. In bringing this vision to
        reality, AHRQ appreciated that the World Wide Web could facilitate easy,
        anonymous reporting (by anyone, from anywhere) and the efficient production of
        a journal that could be made available worldwide at relatively low cost. This
        vision led to a Request for Applications (RFA) in February 2001, to “develop,
        implement, maintain, and assess a national Web-based morbidity and mortality
        conference site” under an AHRQ contract.
            Our team—hospitalist physicians with a strong interest in patient safety and
        medical education—partnered with the health care quality/technology company,
        DoctorQuality, and were awarded the contract, with a start date of September
        2001. Several months later, a managing editor (EEH) was recruited to supervise
        the editorial office and publication of the electronic journal.
            The AHRQ WebM&M (www.webmm.ahrq.gov) has since developed into a
        national Web-based learning program for health care providers. Modeled after
        M&M conferences, the site represents an unprecedented effort to publish
        interesting and illustrative cases of confidentially-reported medical errors on the
        Web, accompanied by straightforward, evidence-based expert commentaries. It
        also represents an important element of the national movement to promote
        “blame-free” medical error reporting and stimulate open discussions of patient
        safety among practicing physicians, educators, and trainees. In this article, we will


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describe the development and evolution of WebM&M, some of the key outcome
measures, and a few related successes and challenges. Because WebM&M serves
as both an educational vehicle and a reporting system, we hope that our
experiences will impart some general lessons that can be applied across the entire
field of patient safety.


The evolution of AHRQ WebM&M
    Although the editors and AHRQ agreed in principal on the vision for the
electronic publication, some of the RFA’s original stipulations were modified
after early discussions and experiences (Table 1). The original RFA, for example,
called for posted cases to be limited to “near misses” (i.e., errors that are detected
and corrected before causing patient harm), largely because of medicolegal
concerns. These restrictions later were relaxed, and we began to include errors
that may have reached the patient but caused no lasting harm (e.g., a medication
error that led to an unanticipated intensive care unit [ICU] stay but ultimate
recovery).10–12 After a few months of anonymous submissions delivered through
the site, the editorial leadership realized that about one-third of the submitted
cases (many of them quite instructive) were being rejected because the error
resulted in lasting harm or death to the patient. In light of the Web site’s robust
security, privacy, and anonymity protections, the selection criteria were further
relaxed and the site began to host the full spectrum of medical errors, including
those resulting in permanent harm.
    The original vision called for the site to focus on five clinical specialties:
medicine, surgery, obstetrics-gynecology, pediatrics, and psychiatry. In practice,
we found that the overwhelming majority of case submissions came from the
fields of medicine and surgery; fewer came from pediatrics and obstetrics-
gynecology, and almost none concerned psychiatry. Certain other specialties,
including emergency medicine and radiology, were also represented. Moreover,
although the RFA initially targeted a physician audience (with consideration of a
related nursing-targeted site to follow), we found that our readership included
many nurses, pharmacists, and others. This discovery led us to broaden the
specialty categories beginning with the publication of our July 2003 (fifth) issue,
and the addition of one or two “swing slot” cases devoted to a variety of other
medical specialties (e.g., laboratory medicine and radiology) and related topics
(e.g., nursing and clinical ethics).
    Cases are selected carefully to illustrate a compelling array of patient safety
issues and clinical situations. The editors review each submission using criteria
such as clinical interest, patient safety interest, systems focus, and novelty to
select cases for publication. Members of the editorial board (including experts in
clinical fields such as obstetrics-gynecology and safety disciplines such as human
factors and informatics) are consulted with specific questions, for example,
whether a given clinical scenario is credible or whether a particular patient safety
issue is of great importance within a given specialty. One noteworthy case is
selected each month for an extended learning module, named the “Spotlight


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        Table 1. Initial vision for AHRQ WebM&M, with challenges and modifications

        Vision                            Challenge or opportunity           Modifications

        The site will be easy to use      Ensuring full compliance with      Major focus on graphic appeal
        and graphically pleasing.         Federal regulations regarding      and functionality design and
                                          Web sites.                         testing.
        Cases will be of “near misses.”   Ensuring confidentiality (in       Loosened restriction to include
                                          terms of patient, providers, and   “no-harm events” and,
                                          institution) while hosting         ultimately, full spectrum of
                                          interesting, illustrative cases.   errors. Major focus on ensuring
                                                                             confidentiality.
        Cases accompanied by              Balance between patient            Choice to use brief case
        detailed root cause analyses.     safety lessons and desire to       presentations, relatively brief
                                          recruit a nonexpert readership.    (1000 word) commentaries;
                                                                             avoid jargon. Hope that
                                                                             readers learn principles of
                                                                             patient safety through an
                                                                             approach they are comfortable
                                                                             with. When new terms
                                                                             introduced, include in a
                                                                             glossary to promote learning.
        Recruit a broad audience                                             Added CME function to
        interested, but not expert, in                                       accompany each monthly
        patient safety.                                                      “Spotlight Case” (with a
                                                                             broader analysis and a
                                                                             downloadable slideshow).
                                                                             Significant marketing effort
                                                                             focused on relevant specialty
                                                                             societies. Easy and non-
                                                                             intrusive site registration
                                                                             informs readers of new issues.
                                                                             Promote media coverage of
                                                                             site.
        Take advantage of the             Hope to generate interactivity     The Web’s ease of use and
        capability of the Web.            and a “users’ community;” also     access has been a huge plus.
                                          use the multimedia potential.      We have begun to host videos
                                                                             (e.g., demonstrating a surgical
                                                                             simulation), in addition to the
                                                                             “Spotlight Cases” slideshow—
                                                                             these have been among our
                                                                             most popular features. Our
                                                                             attempt to create an active
                                                                             users’ forum has been
                                                                             disappointing, with relatively
                                                                             few postings.
        Generate a diverse, interesting   We recognized early that too       To encourage reporting (since
        array of cases illustrating the   many cases focusing on             no academic credits or bylines
        full range of patient safety      medication errors, or “systems     are available), we pay a small
        problems.                         thinking,” would get in the way    honorarium to successful case
                                          of a growing, sustained            submitters (through a third-
                                          readership.                        party payer, to create an arms-
                                                                             length relationship and ensure
                                                                             anonymity). The number and
                                                                             breadth of submissions has
                                                                             been sufficient to fuel the site,
                                                                             but could be greater.




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Cases.” Spotlight cases are chosen on the basis of their broad appeal across
specialties and their excellent teaching value. Keeping in mind the importance of
diverse authorship, expertise, and institutional representation, the commentary
authors for each of the cases are chosen on the basis of their publication track
record in the relevant clinical or patient safety domains.
    We recognized that the site could be only as good as the quality of the cases
we received. With that in mind, we took several steps to encourage readers to
submit cases. First, we ensure the confidentiality of all case summaries and their
reporters, facilities, and patients. Second, we promote case submission widely,
using notices in monthly e-mail messages sent to registered users, and through our
advisory panel and editorial board. Third, those who submit cases accepted for
publication are paid a small honorarium. Finally, the submission process is
simple, allowing users to describe the events of the case in their own words, much
as they might relate them to a colleague. In contrast to many incident reporting
systems, we do not ask users to categorize the type of event, the severity of injury,
or to supply other details related to incident taxonomies. Our decision to structure
the reporting format in this manner was based on the concern that such detailed
questions would represent a significant barrier to participation. The editors have
the means to contact the individual submitting a case, in the event that
clarifications are needed or key details have been omitted, while at the same time
preserving the submitter’s anonymity.
    A second key feature of the site is the quality of the commentaries. We have
been pleased with the commentators and their willingness to participate, given
that WebM&M does not yet offer MEDLINE® citation (we are working on this)
and the fact that we often require a very short turnaround time. Our commentators
have included many of the world’s foremost authorities on patient safety research
and practice. The WebM&M editors line edit the commentaries, when necessary,
to achieve a consistent length, style, and level of accessibility. In turn, the
commentators receive a modest honorarium as compensation for their time.
    Our efforts to promote interactivity include the development of an easy-to-use
“Forum,” in which readers can post their own comments regarding the cases. In
addition, we have made the “Spotlight” slide presentations easy to download, and
encourage their dissemination. Continuing medical education (CME) credit
offerings also have served to attract readers to the site, and CME usership has
grown steadily since our launch. Users read the Spotlight case, complete a CME
quiz, and receive an annotated review of their answers. Individuals who complete
the CME module with a passing grade receive one hour of credit, offered through
the University of California, San Francisco (UCSF) Office of Continuing Medical
Education.
    Given the new Accreditation Council for Graduate Medical Education
requirements that residents must demonstrate proficiency in systems-based
learning (defined as “actions that demonstrate an awareness of, and
responsiveness to, the larger context and system of health”),13 and the challenges
faced by program directors attempting to document these abilities, we added the
option of trainee certification for the “Spotlight Cases.” AHRQ WebM&M’s


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        content is well suited to this purpose. Like CME users, medical residents read the
        “Spotlight Cases” and take the quiz. Those receiving a passing grade for the
        learning module can print out a certificate of participation for inclusion in their
        academic file.


        Results
           The AHRQ WebM&M site first hosted case profiles on November 18, 2002,
        and the first complete issue was published on February 3, 2003. As of March
        2005, we have published 90 commentaries in 19 issues.

        Case submissions
            We have been pleased with the quality and breadth of the submitted cases, but
        their volume has been relatively modest. As of March 11, 2005, we had received
        296 case submissions; approximately 37.5 percent of these were accepted for
        publication. The cases are culled from a variety of specialties, with the majority
        from medicine (47 percent), surgery/anesthesia (20 percent), pediatrics
        (8 percent), obstetrics-gynecology (6 percent), and other specialties (19,
        10 percent). Just 1 percent of the cases came from the psychiatry field. The errors
        and issues described in the cases also were of a diverse nature. Among the
        published cases, the most common were diagnostic errors (27 percent),
        medication errors (25 percent), procedural complications (18 percent), and
        communication errors (18 percent) (Table 2). It is worth noting that the
        comparable percentages for diagnostic and medication errors reflect editorial
        decisions: we have received roughly twice as many medication error submissions,
        but many described the same types of errors.
            Conversely, the cases involving diagnostic errors have been more diverse, and
        thus we have accepted a higher percentage of them for publication. Near misses
        comprise only about 7 percent of the published cases. Twenty-four percent of the
        cases ended in a patient death or permanent disability. The remaining 69 percent
        involved intermediate degrees of severity and harm. Thirty-seven errors
        (67 percent) occurred in hospital, while 8 errors (14.5 percent) occurred in
        emergency departments (without subsequent admission); 8 errors (14.5 percent)
        occurred in ambulatory practices; 1 error (2 percent) took place in a skilled
        nursing facility; and 1 (2 percent) transpired in an undetermined setting.


        Readers
            As of March 11, 2005, AHRQ WebM&M has 9,767 registered users. An
        average of 663 unique visitors come to the site daily (20,150 each month), and
        each one stays for an average of 12 minutes. Combining these figures, the site has
        had approximately 505,000 visit “sessions,” and users have spent more than 6
        million minutes on WebM&M. Very few other patient safety publications or
        resources have achieved similar levels of usage or impact.



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Table 2. Adverse event/error types among published cases*

    Delayed or missed diagnosis                                         15    (27%)
    Adverse drug event or medication error                              14    (25%)
    Complications of a procedure                                        10    (18%)
    Problem with teamwork / communication among providers               10    (18%)
    Device related                                                        9   (16%)
    Identification error (wrong patient, procedure, medication, test)     9   (16%)
    Training/learning curve issue                                         9   (16%)
    Communication: provider-patient issue                                 5   (9%)
    Difficult judgment calls                                              5   (9%)
            †
    Other                                                               14 (25%)
*                                                             th
 Note: Cases include only the 55 published through our 11 issue (March 2004). The numbers
don’t add up to 55, because each of the 55 cases could have more than one type of error or
adverse event. In fact, median was 2, with range from 1–4.
†
  Other included: staffing or other structural (4), discontinuity/transitions (3), miscellaneous
others (7).

    The anonymity of the Internet (and stringent federal guidelines prohibiting
detailed collection of user information) prevents us from developing a
comprehensive analysis of our readership. After tallying the extensions of e-mail
addresses of registered users to given sites, we discovered that 35 percent hail
from a “dot-com” domain, 23 percent from a “dot-org” domain, 15 percent from
“dot-edu,” 10 percent from “dot-net,” and 3 percent from “dot-gov.” The vast
majority of our readers (91 percent) are from the United States, with the
remaining (9 percent) from other countries (the most popular being Canada
[2 percent], Australia [2 percent], and the United Kingdom [0.5 percent] ).
     A voluntary users’ survey accompanied our May 2004 issue, and 542 users
completed it. Seventy-seven percent of respondents were registered users of the
site, and 85 percent had visited the site more than five times. Ninety-one percent
of respondents indicated they had viewed more than more commentary when
visiting the site. Interestingly, nurses and physicians were almost equally
represented among survey respondents (24 percent and 21 percent, respectively).
Four percent of the respondents were pharmacists. Of the remaining users, 11
percent selected “health care administrator” or “manager” from a drop-down
menu of professions, and another 32 percent wrote in a category (a wide-ranging
list, including risk managers, policy analysts, systems engineers, and ethicists).
    The “Spotlight” slides are among the most popular features on the AHRQ
WebM&M site. As of our 18th issue (and our most recent count on February 28,
2005), 24,400 copies of our “Spotlight” slideshows had been downloaded—an
average of 1,355 per issue. Many of our readers tell us that they have used these
slideshows in teaching conferences, patient safety or quality meetings, and
attending rounds.
    We currently have 2,200 registered CME users (a registration separate from
general site registration, to further protect anonymity), and have awarded a total
of 3,344 CME credit hours.


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            The “Forum” feature has been used infrequently (103 postings in the course of
        our first 18 issues, or about 1.2 postings per case, on average). The postings have
        been thoughtful and on point; any early concerns regarding personal attacks have
        not been realized. The cases that generated the greatest number of postings were
        “Patient Mix-Up,” and “Too Tight Control” (9 postings each).

        User ratings of the site
            Judging by the responses to the May 2004 survey, AHRQ WebM&M users
        are very satisfied with the Web site. Seventy-five percent of the users rated the
        site’s educational value as “excellent,” and another 25 percent rated it as “good.”
        Just one of the 542 survey respondents (0.2 percent) rated the educational value
        “fair” or “poor.” Similarly, 75 percent rated the practical value as “excellent,”
        24 percent as “good;” only 8 of the 542 respondents (1.5 percent) rated it as “not
        very useful” or “not useful.” Similarly positive results were seen in the ratings of
        the site’s various content areas and functions (Figure 1).
            Reader-suggested improvements or enhancements included a “lessons
        learned” section, continuing education credit modules for nurses and physician’s
        assistants, an ethics forum, a printer-friendly version of the site, and an upgraded
        search function. However, the vast majority of the comments praised various
        aspects of the site (or the site as a whole).

        Figure 1. Responses to May 2004 AHRQ WebM&M users’ survey




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Discussion
    WebM&M is the culmination of a bold AHRQ experiment. At the time of its
conception, many questions were raised: Would individuals report cases of
medical errors to such a public forum? Could the value of the institution-based
M&M conference be migrated to a national and international platform? Would the
site draw nonexpert readers, particularly clinicians and trainees? And, if early
marketing efforts were successful in creating an initial “buzz” of popularity for
the product, would the Web site have staying power?
    The answers to all of these questions have been surprisingly positive.
Individuals have been willing to report interesting and illustrative cases of
medical mistakes, and their confidentially has never been compromised.
Commentators have articulated important and general safety lessons (including
the concepts of root cause analysis, human factors engineering, forcing functions,
etc.), and have done so in an straightforward manner with a relative absence of
jargon. Discussions have been “systems focused,” with practical “take-home
points” for providers and quality leaders alike, while honestly identifying
individual error where it occurred. Readership began strong, aided by a robust
marketing effort by AHRQ and others, and has continued to grow steadily into the
site’s second year. The background of the readership is extremely broad:
approximately half of our readers are clinicians (divided almost equally between
physicians and nurses) and half are nonclinicians (including administrators,
researchers, and individuals working in the safety field). Some of the site’s
innovative features, including the “Spotlight” slideshows, videos, and CME credit
modules, have proven very popular. The site has generated considerable attention,
in the lay press (e.g., the Wall Street Journal) and professional media alike. A
Google search conducted on February 23, 2005, for the term “WebM&M” yielded
2,250 hits, indicating the site is linked widely and referenced across the Web.
    The AHRQ WebM&M has yielded some disappointments, which we are
working with the Agency to address. In the future, the relatively low number and
breadth of case submissions may compromise our ability to generate five fresh,
interesting cases each month. The relatively low level of activity on the “Forum”
demonstrates that we have not yet discovered the best means with which to
engage our readers in forward-thinking, interactive dialogues. Future plans for the
site may include a decrease in the number of monthly case offerings, as well as
new content additions, such as point-counterpoint debates and letters to the editor,
and hosting “Reader Sound-Off” instant polls as a means of stimulating more
direct user engagement with the site and its content. Finally, we plan to continue
using videos and other presentation tools to leverage the growing multimedia
capacity of the Internet.


Conclusion
    In summary, AHRQ WebM&M represents an ambitious and unprecedented
effort to publish illustrative cases of medical errors; to elicit reviews of such cases


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                   from the top experts in their fields; to generate lively commentary and provoke
                   thoughtful discussion on the application of evidence-based medicine to the
                   reduction of medical errors; and to draw together a broad readership from the
                   various disciplines that comprise the patient safety field. In addition, we sought to
                   create a Web site that was attractive and user-friendly, and to bring credit to
                   AHRQ for a very practical and popular addition to its critical efforts to improve
                   the safety of patients.
                       Overall, the success of AHRQ WebM&M has shown that providers will report
                   medical errors under favorable circumstances, that a strong demand exists among
                   health care professionals for Web-based information on the topic of patient safety,
                   and that readers from different disciplines with common interests will visit and
                   return to a Web site that presents the information they seek in an accessible style
                   and an easy-to-navigate format. The AHRQ WebM&M site represents one of the
                   modern era’s most successful experiments in both patient safety reporting and
                   education.


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                   assistance, and our colleagues at DoctorQuality and Quantros for their technical
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            WebM&M: Case Studies




            This Month's WebM&Ms



              Misdiagnosis of Small Bowel Obstruction in the
              Setting of Previous Abdominal Operations




             Have you encountered medical errors or patient
                            safety issues?




            All WebM&M: Case Studies (662)
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Case 1:25-cv-10595-LTS           Document 26-1          Filed 04/01/25           Page 35 of 130
            Management of CSF Leaks After Elective Spine Surgery:
            Routine Laminectomy Leads to Fatal Discitis and Sepsis
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              0Xve le -m


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            Neurological Red Flags: A Missed Stroke after
            Intermittent Episodes of Dizziness and Headache
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            Hypoxemia after Emergency Intubation
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            Importance of Following Safe Practices for Infant
            Feeding and Handling Expressed Breast Milk
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Case 1:25-cv-10595-LTS                                     Document 26-1                                                   Filed 04/01/25                                       Page 36 of 130
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            Delayed Symptomatic Subdural Hematoma Following an
            Initially Normal CT Head
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            A Cognitive and Communication Blind Spot Contributes
            to Permanent Paralysis
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            A Tale of Two Falls
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            Errors in Managing an Open Wound of the Elbow
            Leading to Multiple Complications and Operations
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            Hypoxic Gas Supply from Cross-Connected Pipelines
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            Infection After Carpal Tunnel Surgery
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            Don’t Wait to Collect an Accurate Weight: A Case of
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            Misplaced Vial: Medication Kit Variability Contributes to
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            Hemorrhagic Shock after Elective Spine Surgery: Failure
            to Rescue after Limited Response to Nursing Concerns.
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            Managing Complexity in Diagnosis: Life-threatening
            Complications after Gastric Bypass Surgery.

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Development of a Web-Based Patient Safety
Resource: AHRQ Patient Safety Network (PSNet)
Niraj L. Sehgal, MD, MPH; Sumant R. Ranji, MD; Kaveh G. Shojania, MD;
Russ J. Cucina, MD, MS; Erin E. Hartman, MS; Lorri Zipperer, MA; Robert M. Wachter, MD



Abstract
Since the Institute of Medicine released its To Err Is Human report, published research and other
activities related to patient safety have increased substantially. Interested stakeholders now
require a resource to stay abreast of the latest news and findings. Under contract with the Agency
for Healthcare Research and Quality (AHRQ), we developed a comprehensive and continuously
updated Web-based portal to address this need. The AHRQ Patient Safety Network (AHRQ
PSNet), launched in April 2005, features weekly updates of annotated resources, a collection of
patient safety “classics,” and opportunities for users to receive weekly updates and create their
own “My PSNet” option. As of July 2007, the site has more than 6,500 subscribers to the weekly
newsletter and receives approximately 1.5 million yearly visits. We anticipate that the AHRQ
PSNet will continue to provide important and updated safety information to a diverse array of
users and to leverage the reach and scalability of the Internet.



Introduction
The landmark Institute of Medicine report, To Err Is Human, increased public awareness about
patient safety and catalyzed efforts to reduce medical errors. 1 The number of stakeholders—
providers, administrators, legislators, regulators, payers, and patients—continues to grow.
Advances are also evidenced by the rapid growth of published research, 2 the development of
practical toolkits and educational curricula, the creation of safety-specific journals, and the
availability of dedicated patient safety conferences.

A resulting challenge is to stay abreast of the latest patient safety literature and news. Whereas
certain fields (e.g., cardiology or critical care) allow their “experts” to remain updated through a
relatively narrow set of journals and conferences, patient safety experts span a variety of
disparate fields. A clinician, researcher, educator, administrator, or policymaker trying to stay
updated in the field might need to read a wide range of general and specialty journals in
medicine, nursing, and pharmacy, as well as human factors, informatics, health policy, and law.

Recognizing the need for a comprehensive information resource for those working in patient
safety, the Agency for Healthcare Research and Quality (AHRQ) issued a Request for Proposals
(RFP) in July 2004 to create a “one-stop” Web-based resource for the patient safety community.
Our editorial team—which comprised physicians with a strong interest and track record in
patient safety and medical education, the managing editor for AHRQ Morbidity & Mortality
Rounds on the Web (AHRQ WebM&M), and a library scientist and cybrarian with expertise in




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patient safety—partnered with a technical contractor, Silverchair (Charlottesville, VA), and we
were awarded the contract.

In particular, we aimed to leverage our experience and success with AHRQ WebM&M, 3 the
Web-based safety journal that first combined anonymous reporting with case-based presentations
and expert commentaries. 4 Our goal was to build a new and innovative patient safety portal that
would allow delivery of timely and highly accessible information, evidence, education, and
insight to improve health care systems and patient care and create a partnership and linkage with
AHRQ WebM&M to permit users to benefit from both sites’ resources.

Launched in April 2005, AHRQ’s Patient Safety Network (AHRQ PSNet) features weekly
updates of annotated resources, a collection of patient safety “classics,” and opportunities for
users to receive weekly e-mail updates and create their own “My PSNet” option. 5, 6 In this
article, we describe the development of AHRQ PSNet, summarize a number of key outcome
measures based on site-user data, and discuss future directions. We hope our experiences provide
useful lessons that can be applied by others dedicated to patient safety and those who may be
considering the use of the Internet as a tool to disseminate health-related content to a widely
dispersed, worldwide audience.

Site Development
The contract called for a creative and engaging patient safety portal that linked to existing
resources (everything from toolkits on the AHRQ Web site to resources from the Joint
Commission), could generate both passive content (i.e., posted on the site) and active alerts for
new content (i.e., e-mailed to registered users), and had a fully searchable set of resources.

In addition to these requirements, our goals were to develop an intuitive and attractive user
experience, ensure a seamless interface with AHRQ WebM&M, create a powerful taxonomy for
organizing a large number of resources, and allow extensive customization. Next, we describe
the major issues and challenges in site development, including choosing content for inclusion,
refining our editorial workflow, creating specific site attributes, and developing our taxonomy.

Content Selection and Editorial Workflow
To create timely and high-quality weekly AHRQ PSNet issues, we needed a system that was
fluid and dependable, could function as a content management tool, and would alert different
members of the editorial team when their tasks were ready for assignment. Our technical
contractor helped develop an online authoring tool that provided the necessary structure and
organization to help publish our new issue every Wednesday.

Each week, our library scientist and editorial team identify potentially relevant content via
systematic searches of bibliographic databases (e.g., PubMed) and also several other clinical,
health care administration, business, legal, and lay press publications (e.g., newspapers and
magazines). We also closely follow industry and consumer dialogue on patient safety issues via
blogs, LISTSERV™ applications, and Web-facilitated news and site update alerts. Finally, our
managing editor is able to anticipate inclusion of important resources in a timely manner through
media access to upcoming, embargoed publications.




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One of our first editorial decisions during site development focused on the number of new
resources we could reliably add in a given week. We decided to choose quality over quantity,
opting to provide users with editorial input into new content, rather than simply including all
relevant content and potentially overwhelming users. After agreeing on a starting set of resources
prior to launch (with larger input from our expert Editorial Board), we targeted inclusion of 20 to
25 new resources each week (~1,000/year) spanning journal articles, newspaper stories,
conference proceedings, toolkits, and reports.

Our editorial team spotlights certain items each week by accompanying the resource with an
annotated summary. These summaries (approximately 100 to 150 words) aim to highlight
important information from the resource and lead users to related content, glossary items, or
AHRQ WebM&M commentaries via hyperlinks. Thus, while reading an annotated summary, a
user is also directed to other relevant literature elsewhere on AHRQ PSNet, a feature that
enhances the user experience (Figure 1). The remaining resources receive shorter summaries
with the same linking principles to create similar depth to each resource description. Evaluation
of past user behavior (discussed in more detail in the Results section) has allowed us to tailor our
editorial decisionmaking over time. During the last steps of our process, the “What’s New” home
page is designed, with resources chosen, prioritized, and highlighted for publication.




Figure 1. AHRQ PSNet sample annotation.




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One recurring challenge of our content selection process comes as we try to determine whether a
resource is about “safety” (our mandated scope) or “quality” (generally, outside our scope). The
distinction between “patient safety” and “health care quality” is by no means clear and is, to
some extent, purely academic. 7 Although our charge is to focus on patient safety, we do not want
to inappropriately exclude quality-focused resources that are also relevant to a safety-oriented
audience. For example, a study on the use of information technology (e.g., computerized
provider order entry, CPOE) that improved the quality of care delivered to patients with diabetes
might be excluded as quality-focused. On the other hand, a similar study demonstrating the role
CPOE played in improving beta-blocker use in the perioperative setting might warrant inclusion,
given that perioperative beta-blocker use was identified as an important patient safety
intervention in an AHRQ technical review (e.g., that defined one aspect of safety practices as
cross-cutting). 8 The balance here remains challenging and generally defies fixed rules for
inclusion and exclusion.

The broader issue involves defining the “market” for patient safety information. Does every
black box warning about a medication or device require inclusion? Does an article focused on
quality but relating to safety published in a marquee journal trump a safety-specific article in a
lower impact journal? These sorts of discussions are resolved through consensus and with an eye
toward past user feedback, while keeping in mind our overarching mission: to err on the side of
high-quality resources, rather than aiming for an inclusiveness that would likely generate an
overwhelming amount of content and a poor user experience.

Site Attributes
During site development, we identified the chief site attributes as:
x   Timely sharing of new information.
x   An attractive, usable, and intuitive user interface.
x   A customized and searchable set of resources using a taxonomy that offered multiple axes.
x   A balance between dynamic content (e.g., literature, meetings, and news) and resource
    content (e.g., toolkits, conference proceedings, and legislation).

Below, we highlight a few specific features that have been popular with our users and
demonstrate the efforts to create a particular user experience on AHRQ PSNet.

What’s New and AHRQ PSNet Newsletter
We designed an interface on the site to highlight new content—i.e., “What’s New”—and an
active way to alert users of the new content: the electronic newsletter. With 20 to 25 carefully
chosen resources each week, we still felt the number could potentially overwhelm users on the
home page. Instead, we produced a dynamic left side of the home page for “What’s New” and a
static right side of the home page for existing content (Figure 2).

In “What’s New,” we select the top 10 to 12 resources each week, organized by resource type
(i.e., journal article, newspaper/magazine article, Web resource), and prioritize them based on
desired connection between the two sites.




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Figure 2. AHRQ PSNet home page.

To cue users to explore new content, we provide an opportunity to receive an AHRQ PSNet
newsletter that is electronically delivered to subscribers. The email displays the “What’s New”
content and allows users to link directly to the individual resources on AHRQ PSNet. We believe
this feature is vital for keeping our users easily updated, a primary objective during our site
development.

My PSNet
The “My PSNet” option allows users to view the latest resources available in their self-
designated areas of interest. When a new resource matching their specifications is added to
AHRQ PSNet, they receive e-mail alerts up to once weekly. The process begins by walking users
through a series of check boxes to highlight their interests—e.g., choosing a safety target, an
approach to improving safety, a setting of care, a clinical area, a target audience, and an error
type. Each of these categories drills down to more specific areas, so each user can customize
preferences as broadly as “All Approaches to Improving Safety,” or simply “Teamwork




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Training.” We believed that by helping users define their areas of interest, matched with our
custom developed taxonomy (described below), the user experience would be optimized.

Classics
Given the volume of content on AHRQ PSNet, we wanted to highlight enduring and influential
resources in patient safety—i.e., our “Classics.” After agreeing on an initial list of classics at site
launch (with input from our Editorial Board), our editorial team reviews resources every 6
months to designate new “Classics.” Typically, we start with a list of potential resources—all of
our selected “key” articles (i.e., those with longer annotation summaries), those highlighted on
the “What’s New” home page, and the most frequently viewed and cited resources. The editorial
team convenes, chooses a target of approximately 50 new classics per year, and then seeks input
from the Editorial Board and Advisory Panel. Once final selections are made, these resources
receive the “Classic” designation, increasing its weight and importance in our searching
algorithms. We believe this feature provides users, particularly those new to the field, with an
easy method to identify landmark resources. A few times a year, we will also designate a
particularly noteworthy new resource as an “Instant Classic.”

Glossary
Building on the success of the AHRQ WebM&M glossary, we reproduced and expanded the
glossary on AHRQ PSNet. The glossary terms have grown in number and depth, as many
contain links (similar to our annotations) and important references. Given the breadth of the
field, a comprehensive glossary helps explain commonly used terms (e.g., “safety culture”) and
activities (e.g., root cause analysis) in patient safety. Adding or modifying glossary terms is part
of the editorial workflow; new terms are identified or raised by editorial members, often while
writing weekly annotations for new resources. AHRQ PSNet and AHRQ WebM&M glossaries
are shared, and searching for a phrase on AHRQ PSNet, such as “safety culture,” will provide
both the glossary term and the available resources matching the search term.

Taxonomy
A good user experience on AHRQ PSNet requires sensitive and specific methods for visitors to
locate resources. A simple text search (e.g., “culture”) across the site’s resources would be
inadequately specific, whereas an unstructured keyword list would quickly become
unmanageable due to size and internally redundant. Therefore, we designed a structured
categorization of descriptive terms—i.e., a taxonomy—to label resources on AHRQ PSNet. The
taxonomy was designed by consensus and iterative review by our editorial team. Taxonomies
composed by such expert groups tend to be large; they balance high specificity when describing
complex domains at the cost of complexity and decreased usability. We tried to minimize these
limitations by carefully restricting the taxonomy to the minimum degree of specificity necessary
to support a user experience on a Web site, rather than by attempting to exhaustively describe
either the breadth of the field or the distinctions possible within it.

For example, our list of “Medical Complications” is limited to five items—nosocomial
infections, pressure ulcers, delirium, venous thrombosis, and falls—rather than an enumeration
of every possible medical complication. These five items were selected based on their
prominence in the field and the existing literature. While we do sacrifice some specificity in the



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labeling, we avoid creating the unusable user experience that would result from an attempt to list
every possible medical complication.

The taxonomy is organized along 7 descriptive axes: (1) Setting of Care, (2) Target Audience,
(3) Clinical Area, (4) Safety Target, (5) Error Types, (6) Approach to Improving Safety, and
(7) Resource Origin. Each axis is a hierarchy of terms, ranging from the very general (e.g.,
Setting of Care > Hospitals) to the very specific (e.g., Safety Target > Medication Safety >
Medication Errors > Transcription Errors). Each AHRQ PSNet resource is tagged by
professional indexers with zero or more taxonomy terms from each of the seven axes and could
be tagged with very specific “leaf” terms, or more general “trunk” terms as appropriate. The
tagging drives the site’s “Browse” user experience, where users can conceptually traverse the
resource collection along a descriptive axis, or define a targeted search that intersects terms from
two or more of the descriptive axes.

In the initial design, the optimum level of specificity was determined subjectively by the editors,
with a prejudice toward avoiding an overly complex user experience. As AHRQ PSNet has
accumulated content and visitor usage data, we have used statistical methods to identify places in
the taxonomy to increase specificity or add new topic areas (e.g., “medication reconciliation” and
“red rules” were added after site launch). We anticipate ongoing revisions to the taxonomy,
based on statistical analysis, editorial assessment of the trends in the literature, and subjective
feedback from the site’s visitors.


Results
Site Usage and User Satisfaction
We have monitored the impact of AHRQ PSNet by three mechanisms:
x   Site usage—measured by unique visits per month.
x   User content selection—measured by analysis of user search behavior and resources
    accessed.
x   User demographics and satisfaction—measured by voluntary survey responses.

As shown in Figure 3, the site has steadily attracted more users since its launch, with an increase
from approximately 30,000 visits per month in April 2005 to more than 110,000 in July 2007.
Additional data from July 2007 indicate more than 3,600 site visits daily, more than 6,500
subscribers receiving the weekly “What’s New” e-mail newsletter, and more than 3,200
subscribers with established “My PSNet” accounts. At the launch of AHRQ PSNet, the number
of visits to it and to AHRQ’s WebM&M were roughly equal. By way of comparison, AHRQ
PSNet now has approximately 33 percent more daily visits than AHRQ WebM&M; combined,
the two sites are trending toward approximately 2.5 million unique visits per year.

Each time a user accesses the site and views a specific resource, Silverchair’s Web server logs a
“hit” for the individual resource item, as well as for the taxonomy terms used to classify that
item. For example, if a user viewed an annotation of a journal article on the subject of
“medication reconciliation,” it would be recorded as a “hit” for the taxon “Medication Safety.”
When a user searches the site, the server also logs the exact search string used. We use monthly



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Figure 3. Visits per month to AHRQ PSNet: April 2005 to July 2007.

summary reports of these data to analyze our user’s content interests. Table 1 shows the most
commonly accessed taxons over the past year; they represent the patient safety topics of
greatest interest to our users. The diversity of topics, ranging from specific errors and
interventions (e.g., “medication errors” and “teamwork training”) to systems and organizational
issues (e.g., “nurse staffing ratios” and “culture of safety”) speaks to the varied interests of our

Table 1.          Most common search strings and taxonomy areas:
                  July 2006 – July 2007
                       Top 10 search strings                               Top 10 taxonomy areas

“SBAR” (Situation/Background/Assessment/Recommendation)              Nurse staffing ratios
                                                                     Medication errors/preventable
“Falls”
                                                                     adverse drug events
“Medication reconciliation”                                          Culture of safety
“Communication”                                                      Look-alike, sound-alike drugs
“Medication errors”                                                  Human factors engineering
“Patient falls”                                                      Patient falls
“CPOE” (computerized provider order entry)                           Nosocomial infections
“Patient safety”                                                     Critical care nursing
“Disclosure”                                                         Approach to improving safety
“Culture”                                                            Teamwork training




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readers. Last summer, we conducted a voluntary user survey, gathering data on user satisfaction
with the site and user demographic data. Most respondents identified their primary institutional
affiliation as a hospital or health care system (60 percent) or academic institution (16 percent).
The respondents came from a variety of professions and institutional roles, including nurses,
physicians, and quality improvement (QI) and patient safety professionals, indicating that AHRQ
PSNet is meeting our goal of providing resources for a diverse array of users (Table 2). Overall,
users were very satisfied with the content, features, and ease of use of AHRQ PSNet; 92 percent
of respondents stated they would recommend the site to a colleague.

 Table 2.     Characteristics of AHRQ PSNet users
                                                                         Proportion of respondents
 Respondent role                                                                    (%)

 Nurse/nurse practitioner                                                           20
 Quality improvement professional                                                   19
 Physician                                                                          14
 Risk management professional                                                       11
 Patient safety officer                                                             9
 Administrator/manager of hospital, health plan, or medical group                   6
 Pharmacist                                                                         5
 Others (e.g., librarians, Federal/State policymakers, students,
                                                                                    <5
 writers/editors, and researchers)




Future Directions
In May 2007, responding to the user survey, feedback, and site experiences, we launched an
upgraded version of AHRQ PSNet. The improved user interface included easy-to-access
navigation on the left and preserved the usability of the site. The upgrade augmented users’
search capabilities using more sophisticated search algorithms. A new “Most Popular” feature
highlights the most frequently viewed resources on the site.

Moving forward, we anticipate further upgrades with two specific features in the advanced
planning phase: Podcasts and Patient Safety Primers. Podcasts—which are digital media files
that can be automatically delivered through subscription feeds—have become a popular method
for individuals to stay abreast of their favorite topics by listening at their convenience. Medical
journals began offering such features recently, and the interest in developing podcasts for AHRQ
WebM&M and AHRQ PSNet seemed natural and was fully supported by AHRQ. Once the
technical capacity is built, we will provide podcasts for AHRQ WebM&M and AHRQ PSNet
content.

With more than 3,000 content items on AHRQ PSNet, and 20 to 25 new resources added each
week, novice users may find it difficult to become familiar with basic patient safety concepts.




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For example, searching on “medication reconciliation” (the third most common search term as of
fall 2006) yields 42 resources, displayed on three different screens. Since only 39 percent of
users in the 2006 AHRQ PSNet user survey identified themselves as patient safety officers or
QI/risk management professionals, it is likely that many of our users are relatively new to the
field of patient safety and thus, could benefit from editorial guidance in accessing content.
Therefore, in the near future we plan to introduce “Patient Safety Primers,” individual pages
within AHRQ PSNet written by our editors on important patient safety topics.

The Patient Safety Primers will be organized clearly and will serve four key functions; they will:

1.   Provide an introduction to the topic, including its definition, importance, and epidemiology.
2.   Direct readers to the content items most relevant to the topic.
3.   Improve integration of AHRQ PSNet content with AHRQ WebM&M content.
4.   Improve access to both research-oriented and application-oriented content items.

In order to integrate the latest, most relevant content, the Patient Safety Primers will be
continuously updated by the editorial team. Introduction of Patient Safety Primers will help
move AHRQ PSNet from being a repository and library of patient safety resources toward
becoming an even more comprehensive resource for the patient safety community.



Conclusion
In the past, we have described our first effort at bringing patient safety education to the Internet
via AHRQ WebM&M as the “culmination of a bold AHRQ experiment.” AHRQ PSNet
represents an extension of that experiment—to become the world’s premier resource for
materials related to patient safety—and it appears (according to user response and visit statistics)
to have been successful in this regard. In the fields of safety and quality, no comparable
products, services, or Web sites provide a one-stop portal that captures important information
from diverse sources, organizes the information with careful editorial input, and presents a
product with a customized and attractive user interface.

AHRQ PSNet demonstrates the capacity for and value in delivering continuously updated patient
safety news and literature to interested stakeholders. We hope these will aid providers,
researchers, administrators, and policymakers in preventing medical errors, redesigning safer
health care systems, teaching the principles of safety, and collaborating across disciplines and
institutions.




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praise and feedback of the site, as their input drives our improvement efforts. Funding for AHRQ
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Discover the latest on patient safety and get CME
credits on PSNet
June 28, 2024


BycNadine Yehya


The UC DaviscCenter for Healthcare Policy and Research ( <https://health.ucdavis.edu/chpr/>CHPR) recently won a $4 million award to
continue editing and developing content forcthe U.S. Agency for Healthcare Research and Quality’s (AHRQ) Patient Safety Network (PSNet)
<https://psnet.ahrq.gov/>cfor another five years.


PSNet is a federal website featuring the latest news and resources to improve patient safety and prevent medical errors. It is a great resource
for patients, educators, researchers, clinicians, consumers and policymakers worldwide. The website receives over 3.3 million page views
annually.


The center assumed its editorial leadership role for PSNet in 2019. The co-editors in chief are UC Davis ProfessorscPatrick Romano
<https://health.ucdavis.edu/pediatrics/team/122/patrick-romano---internal-medicine---pediatrics-general-sacramento/>candcDeb Bakerjian
<https://health.ucdavis.edu/nursing/ourteam/faculty/Bakerjian_bio.html>, and Sarah Mossburg of the American Institute for Research.


“We are very proud at UC Davis Health to be entrusted with providing quality patient safety content and editing PSNet,” said Romano.
Romano is a professor in the Departments ofcInternal Medicine <http://www.ucdmc.ucdavis.edu/internalmedicine/>candcPediatrics
<http://www.ucdmc.ucdavis.edu/pediatrics/>cand member of the CHPR leadership team. “Our editorial team of faculty from many clinical
departments brings a wealth of experience and deep expertise, ensuring the content is accurate, reliable and relevant.”




                             Our editorial team of faculty from many clinical departments brings a
                             wealth of experience and deep expertise, ensuring the content is
                             accurate, reliable and relevant.”

                             — Patrick Romano, a professor in the UC Davis School of Medicine, is a co-editor in chief of
                                 PSNet.




What is Patient Safety Network?
PSNet offers resources on patient safety research, innovations, toolkits and training. PSNet resources include:

            Weekly updates <https://psnet.ahrq.gov/issues>: the latest information on patient safety literature, news, tools and events.
            Morbidity & Mortality on the Web (WebM&M) cases and commentaries <https://psnet.ahrq.gov/webmm>: expert analysis of medical
            errors reported by readers. They include interactive learning modules with free Continuing Medical Education (CME) and
            Maintenance of Certification (MOC) credit.

            Perspectives on safety <https://psnet.ahrq.gov/perspectives>: expert viewpoints on current themes in patient safety, including
            interviews and essays published monthly.

            Patient safety primers <https://psnet.ahrq.gov/primers>: guides for key topics in patient safety.


PSNet also includes accurated library <https://psnet.ahrq.gov/curated-library/patient-team-member-clinical-care>cthat highlights the many
wayscpatients can be partners in medical safety <https://psnet.ahrq.gov/curated-library/patient-team-member-clinical-care>cto prevent errors
and advocate for better health care.
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Contributing content and certified Continuing Medical Education
Theceditorial team <https://psnet.ahrq.gov/Information/Editor>cwrites, updates and maintains the website’s content. UC Davis Health faculty
and staff have contributed extensively to PSNet content. “PSNet has provided a fabulous opportunity for UC Davis clinical providers and
faculty to contribute their knowledge and expertise to improving patient safety, while also expanding their own scholarship,” said Bakerjian.
She is a professor in thecFamily Caregiving Institute <https://health.ucdavis.edu/family-caregiving/>cat thecBetty Irene Moore School of
Nursing at UC Davis <https://health.ucdavis.edu/nursing/>.


In the last five years, more than 200 authors from the Schools of Medicine and Nursing, and from Pharmacy, wrote WebM&M and Spotlight
Case commentaries. Of these, 35 were residents, fellows and medical students. Also, 23 authors wrote primers on topics such asctelehealth
and patient safety <https://psnet.ahrq.gov/primer/telehealth-and-patient-safety>candcburnout <https://psnet.ahrq.gov/primer/burnout>.


The editors welcome case submissions and other contributions from UC Davis Health students, trainees, staff and faculty. Cases can be
submitted atchttps://psnet.ahrq.gov/submit-case-landing <https://psnet.ahrq.gov/submit-case-landing>.
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Government Response to Questions:
RFP: AHRQ-19-10002 (PSNet)


Note: “No solicitation amendment necessary” – This response is used when the solicitation as originally written
      is clearly articulated, when the response would be dependent on the offerors proposed approach, and/or
      when the Government does not have any additional information to provide.




Technical Questions:


1. Question: Task 1:    (Page 9) Is the current site hosted at an AHRQ facility or FedRamp compliant
   environment?
        Government Response:      The current website is housed within a Federal Risk and Authorization
        Management Program (FedRAMP) compliant cloud service provider (CSP) and adheres to the
        requirements of the Federal Information Security Modernization Act (FISMA) of 2014.



2. Question: Task 1: (Page 9) The SOW states "The website must also be hosted at an AHRQ facility..."
   does this imply the contractor will be given access to an AHRQ facility?
        Government Response:        Please see solicitation amendment.



3. Question: Task 1: What are the underlying technologies (e.g. Linux, Apache, mySql, Php, MS .Net, IIS,
   MS-Sql) used by the existing site?
        Government Response:        The PSNet website needs to meet requirements of the Office of
        Management and Budget (OMB) memorandum M-16-21 “Federal Source Code Policy: Achieving
        Efficiency, Transparency, and Innovation through Reusable and Open Source Software”. Any
        technologies that support this requirement are acceptable.



4. Question: Task 1: What is the current technology being used for PSNet?
        Government Response:        See question 3.



5. Question: Task 1: If migration is part of the contract, how many site pages will be moved to the new
   PSNet site?
        Government Response:        No solicitation amendment necessary.




Government Response to Questions
RFP: AHRQ-19-10002 (PSNet)                                                                   Page 1 of 7
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6. Question: Task 1: Develop Web Platform that Houses PSNet (Page 9) Will AHRQ leverage their
   existing GovCloud instance for hosting, or would the contractor need to maintain and operate our
   own FISMA compliant hosting environment?
       Government Response:        No solicitation amendment necessary.



7. Question: Task 1: Develop Web Platform that Houses PSNet (Page 9) Related to content searching
   and content organization, what is the current taxonomy approach and is AHRQ open to evaluating
   expanding or refining taxonomy?
       Government Response:        Please see solicitation amendment.



8. Question: Task 1: Develop Web Platform that Houses PSNet (Page 9) Is AHRQ or the incumbent
   using analytics to identify what types of content should be (1) recommended for specific users, (2)
   what content may or may not be retired and (3) used to help influence or determine other forms of
   marketing and outreach to PSNet users?
       Government Response:        No solicitation amendment necessary.



9. Question: Task 1: Develop Web Platform that Houses PSNet (Page 9) On average, how many cases
   for consideration submitted on a monthly and annual basis?
       Government Response:        No solicitation amendment necessary.



10. Question: Task 1: Develop Web Platform that Houses PSNet (Page 9): Is the $300 compensation for
    selected cases paid for by separate budget/contract?
       Government Response:        No solicitation amendment necessary.



11. Question: Task 1: Develop Web Platform that Houses PSNet (Page 9): Should logged-in users be able
    to view cases that they have submitted somewhere in the account profile section of the site?
       Government Response:        No solicitation amendment necessary.




Government Response to Questions
RFP: AHRQ-19-10002 (PSNet)                                                                 Page 2 of 7
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12. Question: Task 1: Develop Web Platform that Houses PSNet (Page 9): Does AHRQ have metrics on
    the number of users accessing the site? Are there analytics reports available on the pages accessed
    and frequency?
       Government Response:
                                                               Month of
                                                                             Total as of
                                    AHRQ PSNet                  August
                                                                              8/31/18
                                                                 2018
                         WebM&M cases received                     1            959
                         Total visits                           108,314
                         Total page views                       174,256
                         Avg. daily visits                       3,494
                         Avg. time on site                       2 min
                         Avg. pg. views per visit                  2
                         GovDelivery subscriptions                             52,408
                         CME quizzes passed                       412
                         Primer page views                      39,914
                         PSNet accounts                                        27,766
                         Education & Training Catalog
                                                                  623
                         page views



13. Question: Task 2: Content Development, Production and Coordination (Page 10) Are there specific
    requirements for hosting video stories and video technologies? Will links to AHRQ's YouTube channel
    or Vimeo videos be allowed, or other external content housed elsewhere? We are thinking about
    video stories such as Josie King.
       Government Response:             Please see solicitation amendment.



14. Question: Task 2: Is the contractor expected to write articles and content OR just research and
    provide expert review of existing articles?
       Government Response:             No solicitation amendment necessary.



15. Question: Task 2.2: (Page 11) The requirement for the PSNet Classics Collection on the PSNet website
    updates is at least every 3 months or as directed by the COR based on AHRQ’s need / requirements.
    Is there flexibility in the frequency of updates, such as monthly or bimonthly?
       Government Response:             Please see solicitation amendment.



Government Response to Questions
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16. Question: Task(s) – Multiple, (Page - Multiple) Are there established review timelines or service level
    agreements (SLAs) for the COR approval process? There are many deliverables in the project and
    understanding the approval process would be helpful in developing a schedule and work plan.
        Government Response:          No solicitation amendment necessary.



17. Question: Task 2.1: PSNet Collection How are weekly updates to be sent/shared?
        Government Response:          Please see solicitation amendment.



18. Question: Task 2.1, 2.2, and 2.3: (Page 10-12) Should all scholarly articles presented on the site be
    open or public access (e.g., available through PubMed Central, NCBI Bookshelf, Public Library of
    Science); or, are all relevant article citations desired, regardless of licensing (e.g., licensed university
    resources behind publisher paywalls)?
        Government Response:          Please see solicitation amendment.



19. Question: Task 2.1, 2.2, and 2.3: (Page 10-12) For content queries related to licensed resources, does
    AHRQ have its own licensed resources to query for content or is it expected that public/open access
    (e.g., available through PubMed Central, NCBI Bookshelf, Public Library of Science) or other resources
    be utilized? If the latter, what will be the steps for negotiating potential licensing issues?
        Government Response:          See question 18.



20. Question: Task 2.4: PSNet Safety Primers What is the expected format of the primers? How long are
    they expected to be?
        Government Response:          Please see solicitation amendment.



21. Question: Task 2.8: (Page 14) Does AHRQ have specific requirements for the peer review process of
    the Spotlight Cases and Commentaries? Is the expectation that the vendor will recommend a process
    or will the vendor confirm to an existing peer review process approved by AHRQ?
        Government Response:          No solicitation amendment necessary.



22. Question: Task 2.9: (Page 14) Does AHRQ have an estimate of the number of CE credits that PSNet
    users may apply for annually. Is the expectation that the costs for all credits be incurred by the
    contractor or that some or all of these costs will be incurred by persons requesting the credits?
        Government Response:          Please see solicitation amendment.



Government Response to Questions
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23. Question: Task 2.9: (Page 14) Please clarify the anticipated workload and potential revenue sources
    related to providing CE/CME/CEU credits. Specifically, will the contractor have the ability to charge
    users nominal fees for obtaining CME credits and maintaining appropriate documentation thereof? Is
    the expectation that the costs for all credits be incurred by the contractor or that some or all of these
    costs will be incurred by persons requesting the credits? If not, what is the anticipated volume of
    requests for CE/CME/CEU credits? What is the estimated number of CE credits that PSNet users may
    apply for annually. Is the contractor expected to install verification tools to support CE/CME/CEU
    credit requests, such as elapsed time measurements and post-activity quizzes?
        Government Response:         See question 22.



24. Question: Task 3.1: (Page 15) Is there a defined schedule for releasing enhancements, new features
    and issue resolution?
        Government Response:         No solicitation amendment necessary.



25. Question: Task 3.1: (Page 15) Will existing monitoring, security and privacy tools that AHRQ has
    selected be used in the future? What are the current tools being used?
        Government Response:         No solicitation amendment necessary.



26. Question: Task 3.2: (Page 16) Are the inquiries required to be maintained in an external tool or
    database outside of the AHRQ e-mail mailbox? Can a tool or process be recommended to AHRQ?
        Government Response:         Please see solicitation amendment.



27. Question: Task 4: Marketing and Promotional Plan (Page 16-17) Can AHRQ provide current user
    statistics for PSNet, including a breakdown of user types by setting of care, if this information is
    available?
        Government Response:         No solicitation amendment necessary.



28. Question: Task 5: Support for Evaluation Activities (Page 18) Please describe the type of external
    evaluation team that should be used to evaluate the impact of the PSNet content. Can the evaluation
    be performed by specific individuals and or users or are there other requirements of what the external
    evaluation team should consist of?
        Government Response:         Please see solicitation amendment.



Government Response to Questions
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29. Question: Task 5: Support for Evaluation Activities (Page 18) Has there been an evaluation of PSNet
    already performed and is it publicly available to potential bidders. This evaluation would provide
    useful background regarding opportunities to improve PSNet.
       Government Response:        Please see solicitation amendment. The evaluations of PSNet show that
       overall satisfaction with the site is higher than average and the fixes to improve performance are
       minor.



30. Question: Task 6: Technical Expert Panel (Page 18) Do panelists receive an honorarium payment on
    a reoccurring frequency? If yes, what is the amount and frequency?
       Government Response:        No solicitation amendment necessary.



31. Question: Task 6: Technical Expert Panel (Page 18) Are there existing panelists that should be
    considered for the new contract year?
       Government Response:        No solicitation amendment necessary.



32. Question: Task 6: Technical Expert Panel (Page 18) Please clarify the expected size of the required
    TEP, the expected number of TEP meetings annually, whether all of the meeting will be virtual or how
    many will be in person, and whether bidders should budget for TEP member travel or honoraria.
       Government Response:        Please see solicitation amendment.



33. Question: Section L7: Technical Proposal Instructions (Page 85) We would request that the cover
    page, table of contents and bibliography be excluded from the 35 page limit
       Government Response:        Please see solicitation amendment.



34. Question: Section L7: Technical Proposal Instructions (Page 85) Are there specific requirements or
    format for the bibliography? Is there specific content or evidence that AHRQ is seeking?
       Government Response:        No solicitation amendment necessary.



35. Question: Beyond hospitals, what are the intended audiences/user groups for PSNet (e.g., community
    health center, private practices, public health departments)?
       Government Response:        No solicitation amendment necessary.




Government Response to Questions
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36. Question: How will AHRQ define success on this project? Where and at what level of detail should
    proposals specify activities for defining and gathering process metrics (e.g., number of clicks or page
    visits), impact/uptake metrics (e.g., number best/recommended practices implemented), and
    outcome measures (e.g., reductions in adverse safety events, improvement in safety reporting)?
        Government Response:         No solicitation amendment necessary.




Business Questions:


    1. Question:
       Could AHRQ provide an expected level of effort or annual budget for the required work
        Government Response:         No solicitation amendment necessary.



2. Question:
   We understand that a cost reimbursement contract (i.e., cost plus fixed fee) is contemplated for
   this project. Is AHRQ willing to consider a fixed price contract instead?
        Government Response:        No solicitation amendment necessary. The Government will award the
        contract as a cost reimbursement type contract.




Government Response to Questions
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  Deb Bakerjian, PhD, APRN, FAAN,
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                   Sarah Mossburg, BSN, MS, PhD
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          Kristen Bettega
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         Noelle Boctor, MD
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          Christian Bohringer, MBBS, FANZCA, FFICANZCA
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                     James A. Bourgeois, OD, MD
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          Bryan Gale, MA
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     Domini M. Hood, PharmD
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    Courtney Klopfenstein, MPH




                         Merton Lee, PhD, PharmD




  Lauren Roygardner, LMSW, PhD
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                 Roslyn Seitz, MSN, FNP-C, ENP-C, MPH
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                  Ulfat Shaikh, MD, MPH, MS, FAAP
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 Submit a Case




 Title *
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 Patient Description *




 Nature of Error *




 Impact/EÊects *




 How Error was Recognized *
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 Recommendations *




 Follow Up Email
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        I'm not a robot
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Information

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 Help
 To contact us with your questions, email us at
 psnetsupport@ahrq.hhs.gov
 Frequently Asked Questions
 General Information
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 Continuing Education (CE)/Maintenance of
 CertiÄcation (MOC) Credit for AHRQ
 WebM&M Spotlight Cases
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 General Information
 What are AHRQ PSNet and AHRQ WebM&M?
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 How do I contact AHRQ PSNet?
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 How do I subscribe to the AHRQ PSNet/WebM&M
 newsletter?
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 How do I unsubscribe from the newsletter?
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 How do I update my email address for the newsletter?
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 What is the diÊerence between creating a PSNet account
 and just subscribing to the newsletter?
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 How do I update my email address for topic alerts?
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 How do I update my topics of interest on the PSNet
 website?
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 How do I unsubscribe from topic alerts?
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 What should I do if I cannot sign in to my PSNet account?
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 Redesign of AHRQ PSNet/WebM&M
 Why did AHRQ merge/redesign the PSNet and WebM&M
 sites?
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 WebM&M still available?
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 How do I directly access WebM&M Cases and Perspectives
 on Safety?
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 Can I still submit cases to WebM&M anonymously?
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 Who do I contact if I need more information on the
 redesigned site?
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 AHRQ PSNet General Information
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 Who do I ask for permission to use a resource that I read
 on AHRQ PSNet?
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 How do I obtain permission to reprint a Patient Safety
 Primer, Perspective, or WebM&M Commentary?
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                  
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 How do I recommend content for you to add to AHRQ
 PSNet?
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 AHRQ PSNet Resources and Content
 What kind of content is available on AHRQ PSNet?
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 What comprises the AHRQ PSNet Collection? How do you
 determine what is relevant?
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                      
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 What are "Classics"? What makes them diÊerent from the
 other resources?
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 What are "Patient Safety Primers"?
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 How was the glossary assembled?
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  
 What are "Perspectives on Safety"?
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             
  
 Finding Content on AHRQ PSNet
 How does the search feature work?
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       
 How does the browse feature work?
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 $%& '- +.,            
   $%& '     / +0,          
      /  +1,        
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 How are the rankings of search results determined?
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 Why do many of your links point to content that requires a
 subscription? Why don't more links have free full text?




 How can I gain access to articles that require a
 subscription?




 I cannot Änd a journal online, but there should be access
 to it from your site. How do I Änd it?




 AHRQ WebM&M
 What is AHRQ WebM&M?
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  What is a "Spotlight Case"?
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  How do I obtain permission to reprint AHRQ WebM&M
  materials?
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    - .!  !   &
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  AHRQ WebM&M Case Submission
  Who can submit a case? Must I be a physician or
  practitioner to submit a case?
  (         
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Case 1:25-cv-10595-LTS   Document 26-1   Filed 04/01/25   Page 101 of 130
  I submitted a case. How long until I know if my case has
  been accepted?

  Can I submit a commentary?




  Do I receive authorship for my case submission?




  Do I receive any beneÄts for submitting a case?



  How do I get paid through PayPal?




  How is the payment anonymous?
Case 1:25-cv-10595-LTS     Document 26-1      Filed 04/01/25   Page 102 of 130
  Continuing Education (CE)/Maintenance of
  CertiÄcation (MOC) Credit for AHRQ
  WebM&M Spotlight Cases
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  UCFS CE/MOC created beforeĿNovember 2019
  Are credits available for all Spotlight cases?
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  How many credits do I earn per Spotlight case?
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  What is the fee for participating in the AHRQ WebM&M
  CME program?
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  Are CME, MOC, and CEU the same for the AHRQ
  WebM&M cases?




  Are MOC credits available for all Spotlight cases?




  Can CE/MOC credit be emailed to users?




  What should I do if I have not yet received my certiÄcate
  for the CE/MOC quizzes that I took online?
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  When will my MOC points be reported to the ABIM?




  Will I receive a separate MOC certiÄcate?




  What should I do if I am unable to log in to CE/MOC?




  Why is credit available for my degree?



  Do these modules qualify for Pennsylvania patient safety
  credit (or ethics credit, or any other type of state board-
  speciÄc credit)?




  Can I apply the certiÄcate to my state's licensure program,
  and how do I Änd out if I can?
Case 1:25-cv-10595-LTS                Document 26-1           Filed 04/01/25           Page 107 of 130
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  Is trainee certiÄcation available for all Spotlight cases?
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Introducing the New AHRQ WebM&M and AHRQ Patient
Safety Network (PSNet)
April 1, 2005
Wachter R. Introducing the New AHRQ WebM&M and AHRQ Patient Safety Network (PSNet). PSNet
[internet]. 2005.
https://psnet.ahrq.gov/perspective/introducing-new-ahrq-webmm-and-ahrq-patient-safety-network-psnet




Editorial

Five years ago, the Institute of Medicine report, To Err is Human, placed the issue of medical errors
squarely in the public eye.(1) The report led to many calls for action, including increased reporting of
medical errors and improved education for both clinicians and administrators about patient safety.

It soon became clear that cases of medical errors, if mined correctly, could play an essential role in
educating providers and developing safer systems of care. Yet clinicians and institutions are
understandably reluctant to report their errors, fearing both adverse public relations and medicolegal
consequences.

Our vision was that AHRQ WebM&M would help bridge the gap between reporting and education—a gap
that most other reporting systems have not managed to close.(2) By creating a confidential, easy-to-use
reporting system, the Web site allowed clinicians from around the country (and the world) to safely submit
reports of errors. Armed with such cases, our role as editors was simply to choose the most illustrative
among them and then enlist the nation's (and often, the world's) top experts in safety to comment on them
in a thoughtful, evidence-based, and engaging manner.

It worked. We recently posted the wonderful feedback we received from last year's users survey. We have
been pleased by this response and gratified that our community of users has grown steadily (we now have
10,000 registered users). Yet, as AHRQ asked my colleagues and me to work with them to produce
WebM&M for the next few years, it was clear that certain changes could make the site even better.

First and foremost, because we wanted to highlight some key issues in patient safety that might not
specifically be raised by case submissions, we've added a section called "Perspectives on Safety." This
month, we interview Dr. Chris Landrigan, lead author of the influential AHRQ-supported New England
Journal of Medicine study on housestaff sleep deprivation and medical mistakes. In the next few months,
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you'll see other interviews and essays covering topics such as how hospitals change in response to highly
public errors, challenges in performing and interpreting patient safety research, and the role of nurses in
improving safety. The goal of these Perspectives remains the same: to be lively, engaging, and a bit
provocative. We hope you like the pieces and invite you to suggest topics and authors or even submit a
Perspective of your own.

You'll also see more subtle enhancements to AHRQ WebM&M: a topic index, a printable view, enhanced
archives, and more. We really hope you like it and continue to read the site, submit cases, and tell your
friends and colleagues about it.

Three years ago, I was privileged to help edit an AHRQ evidence report on patient safety practices.(3)
Although we did find a number of practices well supported by high-quality research, my colleagues and I
were struck by the relative immaturity of the research underpinnings of the patient safety field. Given the
consequences in cost, time, and change management of many proposed patient safety interventions (eg,
installing computerized provider order entry or bar coding systems, implementing teamwork or simulator
training, maintaining certain nurse-to-patient ratios or resident duty-hour limits), it was remarkable how little
high-quality research there was to inform decisions or a rich understanding of the outcomes and
consequences of these changes.

Luckily, that has changed over the past few years. Now, in large part through AHRQ support, dozens of
studies on patient safety are published every month, along with books, tools, surveys, and reports of
individual experiences. There are also scores of conferences, proposed pieces of legislation, grant
opportunities, and more.

In other words, the challenge has shifted from making decisions with an insufficient amount of information
to managing a growing but messy treasure trove of data and tools. This process is made more difficult by
the remarkable breadth of the patient safety field. The "consumers" of safety information range from CEOs
to practicing nurses and from university researchers to patients. Patient safety information might be found
in a standard medical journal, a lay-oriented book, a conference on aviation and human factors
engineering, or a local newspaper.

In response to this challenge, we are pleased that this month also marks the launch of AHRQ Patient
Safety Network (PSNet), a "one-stop" patient safety portal. On the left side of the AHRQ PSNet home
page, you'll find "What's New": an annotated, carefully selected compilation of the most recent and
important news, research, tools, and conferences in patient safety. The right side of the page is "The
Collection": your front door to thousands of patient safety resources, all easily retrievable via either
browsing or searching. If you're new to the field and want to see the most enduringly important articles and
books in the patient safety, you'll find them under "Classics." And, if you have a particular area of interest,
"My PSNet" allows you to customize the site based on your own interests (perhaps you're a nurse
interested in research on preventing falls in nursing homes, or a physician interested in strategies to
prevent wrong-site surgery). "My PSNet" will even alert you when a new resource on the site matches your
selected criteria.
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Your registration for AHRQ WebM&M, which allows you to submit cases and receive the email alert for
each new issue, does not automatically register you for AHRQ PSNet. To do that, go to "Subscribe to
Newsletter" and give us your email address. It's that simple. We'll notify you when new content has been
posted. If you're interested in customized alerts, you can do that by clicking on "My PSNet" on the AHRQ
PSNet home page.

Through these sites—AHRQ WebM&M and AHRQ PSNet—our aim is to provide a rich exposure to cases,
commentaries, and the world's literature and tools in patient safety. We hope you enjoy the sites and find
them useful in your vital work of keeping patients safe from harm.

Robert M. Wachter, MDEditor, AHRQ WebM&M and AHRQ Patient Safety Network

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         The PSNet Collection: All Content
     The AHRQ PSNet Collection comprises an extensive selection of resources relevant to
    the patient safety community. These resources come in a variety of formats, including
     literature, research, tools, and Web sites. Resources are identified using the National
    Library of Medicine’s Medline database, various news and content aggregators, and the
                  expertise of the AHRQ PSNet editorial and technical teams.




Search All Content
   Search PSNet Content by entering keywords or use quotes (") to n


Advanced Search Filter by Author                                     Search Tips 




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Download Citations
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Filter By Author(s)

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Filter Results By               
     Classics              (840) 
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     Spotlight Cases       (201) 
     Contains CME/MOC       (37) 
     Curated Libraries      (17) 
     Contains CPE            (2) 



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     Perspectives on       (200) 
     Safety
     Patient Safety         (78) 
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     Patient Safety         (59) 
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Popular Resource Types          




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 Safety Target                   


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    TRAINING CATALOG
         Case 1:25-cv-10595-LTS   Document 26-1   Filed 04/01/25   Page 117 of 130
International Conference on
Emerging Surgery Trends 2025:
Redefining Surgical Excellence
Conference
  Save to Library     Share
Organization: Organization The Research Gate (TRG)

Event Description: Innovations in surgical practices,
procedures, and technology.

Event Location: Online and in-person in Paris, France

Date: October 1-2, 2025

Event Fee: Fee Associated (for some)

CE or CME Offered? Yes
Weblink: Weblink
https://theresearchgate.com/conferences/emerging-surgery-
trends-2025/



 TRAINING CATALOG

Artificial Intelligence and Human
Factors in Health Care Quality &
Safety Conference
  Save to Library     Share
Organization: Organization Penn State College of Medicine

Event Description: The conference will focus on the issues at
the intersection of Human Factors Engineering, patient satey,
Quality and Value enhancement and Artificial Intelligence (AI)
and will bring together recognized academic, clinical and
industry experts to provide state-of-the-art knowledge. They
will also attempt to define future directions in this field and
propose an agenda for future research over the next 5 to 7
years.

Event Location: Hershey, PA and Online

Date: April 10-11, 2025
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Event Fee: Fee Associated

CE or CME Offered? Yes

Weblink: Weblink https://research med psu edu/ai human

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                                   MEMORANDUM

 TO:                    Heads and Acting Heads of Departments and Agencies
 FROM:                  Charles Ezell, Acting Director, U.S. Office of Personnel Management
 DATE:                  January 29, 2025
 RE:                    Initial Guidance Regarding President Trump’s Executive Order Defending
                        Women.


        Pursuant to its authority under 5 U.S.C. § 1103(a)(1) and (a)(5), the U.S. Office of
Personnel Management (OPM) is providing the following initial guidance to agencies regarding
the President’s Executive Order entitled Defending Women from Gender Ideology Extremism and
Restoring Biological Truth to the Federal Government (Defending Women).

        Steps to End Federal Funding of Gender Ideology: In light of Defending Women, each
agency should take prompt actions to end all agency programs that use taxpayer money to promote
or reflect gender ideology as defined in Section 2(f) of Defending Women. Specifically, agency
heads should take the following steps:

   1. No later than 5:00 p.m. EST on Friday, January 31, 2025

          a. Send an email to all agency employees announcing that the agency will be
             complying with Defending Women and this guidance.

          b. Review all agency programs, contracts, and grants, and terminate any that
             promote or inculcate gender ideology.

          c. Review all agency position descriptions and send a notification to all employees
             whose position description involves inculcating or promoting gender ideology
             that they are being placed on paid administrative leave effective immediately as
             the agency takes steps to close/end all initiatives, offices, and programs that
             inculcate or promote gender ideology.

          d. Take down all outward facing media (websites, social media accounts, etc.) that
             inculcate or promote gender ideology.

          e. Review agency email systems such as Outlook and turn off features that prompt
             users for their pronouns.
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                                                                                         Page 2



          f. Withdraw any final or pending documents, directives, orders, regulations,
             materials, forms, communications, statements, and plans that inculcate or promote
             gender ideology.

          g. Cancel any trainings that inculcate or promote gender ideology or have done so in
             the past.

          h. Disband or cancel any employee resource groups or special emphasis programs
             that inculcate or promote gender ideology or have done so in the past.

          i. Review all agency forms that require entry of an individual’s sex and ensure that
             all list male or female only, and not gender identity. Remove requests for
             “gender” and substitute requests for “sex.”

          j. Ensure that all applicable agency policies and documents, including forms, use
             the term “sex” and not “gender.”

          k. Ensure that intimate spaces designated for women, girls, or females (or for men,
             boys, or males) are designated by biological sex and not gender identity.

   2. No later than 12:00 p.m. EST on Friday, February 7, 2025, report to OPM on all steps
      taken to implement this guidance, including:

          a. a complete list of actions taken in response to this guidance and Defending Women;
             and

          b. any agency plans to fully comply with this guidance and Defending Women.

        Please contact OPM at defendingwomen@opm.gov if you have any questions regarding
this guidance. Please send any reports requested by this guidance to defendingwomen@opm.gov.

cc: Chief Human Capital Officers (CHCOs), Deputy CHCOs, Human Resources Directors, and
Chiefs of Staff
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             EXHIBIT 18
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Suicidal Ideation in the Family Medicine Clinic
December 1, 2016
Moutier C. Suicidal Ideation in the Family Medicine Clinic. PSNet [internet]. 2016.
https://psnet.ahrq.gov/web-mm/suicidal-ideation-family-medicine-clinic




Case Objectives

      Recognize suicide as a major public health problem and the critical role of primary care in preventing
      suicide.
      Describe risk factors associated with increased risk of suicide.
      Be familiar with The Joint Commission recommendations regarding the management of suicide risk
      across health care settings.
      Understand how to assess suicide risk in the primary care setting and how to triage high-risk
      patients.
      Recognize the importance of a systems approach to suicide prevention.


The Case

A 20-year-old woman with bipolar disorder, borderline personality disorder, and a history of multiple
inpatient psychiatric hospitalizations for prior suicide attempts called her primary care doctor's office at
10:30 AM stating that she had been "cutting her wrists" and had taken "extra doses of medication."

A front office staff member who did not have any clinical training answered the patient's phone call. He
informed the patient that the next available appointment was at 3:00 PM that afternoon. The primary care
doctor was not notified of the patient's behavior at the time of the phone call.

During the patient's office visit that afternoon, she was noted to have multiple cuts on both her wrists and
stated that she "did not care" if she harmed herself. She stated that in addition to cutting herself, she had
ingested several lithium pills. Recognizing that the patient was at high risk for suicide based on her
behavior and medical history, the evaluating physician called security to escort the patient to the
emergency department for a formal psychiatric assessment and inpatient admission. However, the patient
was unintentionally left unattended for a brief period and eloped before providers could evaluate her.

The emergency department physician notified the local police who found the patient at her apartment later
that evening. Luckily, she had not engaged in additional self-destructive behavior. She was brought back to
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the emergency department and ultimately admitted to an inpatient psychiatry unit for further treatment.


The Commentary

by Christine Moutier, MD

Suicide is one of the world's leading preventable causes of death. In 1999, United States Surgeon General
David Satcher drew attention to suicide as national public health crisis and called upon policy and
community leaders, researchers, and health care systems to act to reduce the national suicide rates.(1) In
2002, the Institute of Medicine issued a similar call to action.(2)

Suicide prevention has traditionally been viewed as the primary responsibility of mental health providers.
Unfortunately, many who might benefit from dedicated mental health treatment are unable to access it for
at least two reasons. First, there remains a significant shortage of psychiatrists and other mental health
professionals. Second, there continues to be significant stigma associated with seeking care from such
providers, although thankfully this is diminishing. In fact, the majority of those who die by suicide have
never seen a mental health professional (62%), but they do visit primary care, often in the weeks before
death.(3)

Although the US Preventive Services Task Force deemed the evidence supporting screening for suicide
risk insufficient in 2014 (4), 2 years later The Joint Commission issued Sentinel Event Alert 56 regarding
the detection and care of suicide risk.(5) In it, they recommend formal screening for suicide risk as well as a
series of action steps for all health care settings (Table 1).(5) This has prompted a newfound interest in
suicide prevention and highlighted the need for training and implementation of care protocols in ambulatory
settings.

This case presents a patient who is clearly at very high risk for suicide based on the presence of multiple
risk factors, including self-harm behavior, history of suicide attempts, history of psychiatric hospitalizations,
and concurrent diagnoses of bipolar disorder and borderline personality disorder. Primary care providers
need to be able to quickly recognize the presence of suicide risk factors, including those that may be less
readily apparent, such as a family history of psychiatric illness (Table 2). A rich body of research
demonstrates that a diagnosable psychiatric condition contributes to death in more than 90% of suicide
cases (6), but the condition had been untreated in about half of those cases. Thus, it is critical to routinely
screen for mental health problems in the primary care setting. This can be accomplished by using validated
instruments (such as the PHQ-9, a publicly available depression screening tool) (7) and by asking patients
about changes in behavior, mood, and physical symptoms of depression.

This case represents a missed opportunity to provide high quality care to a patient at high risk for suicide.
When the patient called the office and stated that she had cut her wrists and taken some pills, the staff
member treated the call as routine and scheduled an appointment without recognizing the urgency of the
situation. The reaction highlights the importance of training all staff, even nonclinical staff members, on the
basics of suicide prevention, including the recognition of risk factors. Such brief education for nonclinical
staff can be provided during a short training session and includes teaching on suicide risk factors, warning
signs to watch for, and how to converse with suicidal individuals in a supportive manner.(8) Longer
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trainings, such as Mental Health First Aid, are also available and teach lay individuals how to recognize
mental health issues and what to do to help.(9) In this case, the staff member should have had a clinician
speak with the patient by phone immediately. If that was not possible, the staff member taking the call
should have triaged the patient to the emergency department (ED) for emergent evaluation.

When the primary care physician eventually evaluated the patient, her decision to have the patient escorted
to the ED by security was appropriate. However, the fact that the patient eloped reveals a major gap in
care, in that this patient who warranted urgent psychiatric and medical evaluation lacked a failsafe plan for
1:1 observation until evaluation by an ED provider was possible. This highlights the critical need for
protocols to safely transition high-risk patients between care settings and involves careful coordination
among all providers to ensure safe handoffs. The details vary, but states have developed processes for
holding patients involuntarily pending formal psychiatric evaluation if there is concern for "dangerousness to
self."(10)

Determining a patient's current level of suicide risk and triaging the patient appropriately are two of the
most challenging aspects of mental health care in any setting, but this can be particularly difficult in the
ambulatory setting. The two levels of risk to be considered in outpatients are (i) acute risk and (ii) all other
nonacute, lower levels of risk. An algorithm that is sometimes helpful in making this assessment is
available: https://www.sprc.org/settings/primary-care/toolkit.(11,12) Importantly, suicidal ideation (defined
as thinking about or considering suicide) by itself does not amount to acute risk. In fact, among primary
care patients, 2%–3% report experiencing suicidal ideation in the preceding month. Although suicidal
ideation indicates possible psychopathology and need for mental health treatment, its presence does not
predict progression to suicide.(13)

However, suicidal ideation can evolve into a higher risk scenario. When a patient expresses intent and
articulates a viable plan for lethal self-harm, that patient should be considered at acute and high risk for
suicide. However, outside of this clearly defined scenario, there are many factors to consider in determining
risk level. The most important thing to keep in mind is that suicide risk is highest when multiple risk factors
coexist in one patient, such as the patient in this case. If a patient expresses suicidal thoughts but the
nature of the intent and plan is not clear, asking about several other risk factors can be very helpful to
appropriately determine risk and triage the patient accordingly. Key risk factors to be considered include:
prior history of suicide attempt; family history of suicide or mental illness; the presence of agitation, anxiety,
or insomnia; sense of being a burden; and the escalating use of alcohol or other substances. If the patient's
suicidal ideation has been coming and going for some time with no prior history of attempt and no other risk
factors, and protective factors such as a strong sense of connection to others are present, the patient is not
likely to be at imminent risk of suicide. Because suicide risk is dynamic and may change over time,
providers should document these findings in detail along with their rationale for risk determination at the
time they assess the patient. In addition, documentation is closely examined if litigation ensues. Courts will
usually respect a medical decision if a rationale that falls within a reasonable range of standard practice is
documented, even if a bad outcome occurs.(14,15)

Sometimes providers "contract" with patients to ensure their safety by asking patients to promise that they
won't self-harm and will follow up as planned at the next scheduled visit. There is no empirical evidence to
support this practice of "contracting for safety." Moreover, it does not afford medicolegal protection in the
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case of an adverse outcome.(16) The current recommendation is to use a simple process referred to as
safety planning (Table 3). Safety planning empowers patients to recognize their own triggers and warning
signs. It involves developing a step-wise plan to remain safe and can be kept in writing or via mobile
application.(17) Safety planning can be facilitated by trained clinic staff in 10–20 minutes. It has been
adopted in a wide variety of settings such as the Veterans Affairs, military bases, college campuses, and
high schools.

Another best practice is counseling patients specifically on lethal means, methods for suicide with high
fatality rates such as firearms, toxic chemicals, and medications.(18,19) Providers should ask patients and
involved family members if there are guns, weapons, dangerous medications, or other potential sources of
lethal harm in the home environment. If the answer is yes, the provider should strongly advise the patient
and family when possible that they be stored securely to further mitigate the risk of harm.

The electronic health record can play a key role in flagging patients who are at high suicide risk and
facilitates tracking of missed appointments, unfilled medications, and dispensing of potentially lethal or
harmful medications. A framework called Zero Suicide is one example of a comprehensive systems
approach to mitigating suicide risk and involves implementing policies, training, and better care for patients
at risk for suicide.(20) It was launched in 2012 by the Suicide Prevention Resource Center following the US
Surgeon General's 2012 National Strategy for Suicide Prevention. It focuses on training, practice, and
policy in order to better identify patients at risk for suicide, provide suicide-specific care, ensure closer
follow-up, and track patient outcomes. It leverages the electronic health record by including suicide risk as
part of the patient dashboard so that patients with particular levels of risk don't get lost to follow-up. This
allows concerning events, such as missed appointments or refills, to be noted and communicated to the
primary provider.

Many of the strategies described above are consistent with recommendations from The Joint Commission,
the American Academy of Family Physicians, and the American Academy of Pediatrics.(5,21,22) Mitigating
suicide risk in ambulatory care is challenging. However, keeping patients safe is possible if ambulatory
practices put systems in place to identify high-risk patients and triage them safely to the appropriate site of
care.


Take-Home Points

        Triaging suicide risk is a common problem in primary care settings.
        All clinic staff should be trained to identify suicide risk factors and to appropriately triage high-risk
        patients.
        Determination of suicide risk involves assessing suicidal ideation, intent, planning, and access to
        lethal means, such as weapons and medications.
        Acutely high-risk patients warrant emergent psychiatric evaluation and possible hospitalization.
        The electronic health record can be leveraged to identify and monitor patients at risk for suicide.

Christine Moutier, MD Chief Medical Officer American Foundation for Suicide Prevention New York, NY
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Faculty Disclosure: Dr. Moutier has declared that neither she, nor any immediate members of her family,
have a financial arrangement or other relationship with the manufacturers of any commercial products
discussed in this continuing medical education activity. In addition, the commentary does not include
information regarding investigational or off-label use of pharmaceutical products or medical devices.


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Tables

Table 1. Joint Commission SEA 56 Recommendations for All Health Care Settings.(5)

1. Review each patient's history and family history for suicide risk factors
2. Use a standardized tool to screen all patients for deterioration in mental health and suicidal ideation
(e.g., PHQ-9, ED-SAFE Screen)
3. Review these screening tool results before patient leaves appointment
4. For suicidal crisis, keep patient safe via 1:1 observation and emergent evaluation in ED or psychiatric
unit
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5. For lower risk states and for all patients with suicidal ideation:

   a. Provide patient and family the National Suicide Prevention Lifeline: 1-800-273-TALK
   b. Conduct safety planning
   c. Restrict access to lethal means
   d. Remember at subsequent visits to reevaluate suicide risk in an ongoing manner
   e. Consider suicide-specific treatment interventions/referrals
    f. Follow up closely

6. Educate all staff in patient care settings how to identify and respond to patients with suicidal ideation
7. Document decisions regarding detection, care and referral

Table 2. Risk Factors for Suicide.

Psychiatric condition (major depressive disorder, bipolar disorder, substance use disorder, borderline
personality disorder, schizophrenia, posttraumatic stress disorder, anxiety disorder)
Prior suicide attempt
Family history of suicide
Family history of psychiatric condition
Chronic medical conditions/chronic pain
Childhood abuse
Recent stressful event, loss, shaming rejection, humiliating event
Suicide exposure (peer or celebrity)
Access to lethal means
Cognitive rigidity (perfectionistic, black or white thinking)
Feeling like a burden
Symptoms including agitation, hopelessness, insomnia, anxiety, command hallucinations
For youth: neglect, parental discord, rejection, LGBT, bullying

Table 3. Safety Planning Intervention.(23)

Patients (with doctor/staff/therapist/peer specialist) develop and document a stepped series of actions to
prevent or abort crisis. Available as a printable plan or mobile application.

       Warning signs (thoughts, behaviors, situations)


       Internal coping mechanisms


       People/social settings that provide good distraction
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       People whom I can ask for help


       Professionals/agencies I can contact during a crisis


       Making the environment safe


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